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                          IN THE UNITED STATES DISTRICT COURT
                        FOR THE WESTERN DISTRICT OF TENNESSEE
                                   WESTERN DIVISION



JESSICA JONES and CHRISTINA                        Case No. 2:20-cv-02892-SHL-tmp
LORENZEN on Behalf of emselves and All
Others Similarly Situated,

                   Plaintiﬀs,                      SECOND AMENDED CLASS ACTION

v.                                                 COMPLAINT

VARSITY BRANDS, LLC; VARSITY SPIRIT,
LLC; VARSITY SPIRIT FASHION &                      JURY DEMAND
SUPPLIES, LLC; U.S. ALL STAR
FEDERATION, INC.; JEFF WEBB;
CHARLESBANK CAPITAL PARTNERS LLC;
CHARLESBANK EQUITY FUND VII,
LIMITED PARTNERSHIP; CHARLESBANK
EQUITY FUND VIII, LIMITED
PARTNERSHIP; CHARLESBANK EQUITY
FUND IX, LIMITED PARTNERSHIP; BAIN
CAPITAL PRIVATE EQUITY, LP; BAIN
CAPITAL FUND XII, L.P.; BAIN CAPITAL
FUND (DE) XII, L.P.; and BAIN CAPITAL
FUND (LUX) XII, SCSP,

                   Defendants.




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         Plaintiﬀs Jessica Jones and Christina Lorenzen (“Plaintiﬀs”), on behalf of themselves and

all others similarly situated, bring this Second Amended Class Action Complaint against

Defendants Varsity Brands, LLC (“Varsity Brands”); Varsity Spirit, LLC (“Varsity Spirit”);

Varsity Spirit Fashion & Supplies, LLC (“Varsity Spirit Fashion”) (collectively with Varsity

Brands and Varsity Spirit, “Varsity” or the “Varsity Defendants”); U.S. All Star Federation, Inc.

(“USASF”); Jeﬀ Webb; Charlesbank Capital Partners LLC (“Charlesbank”); Charlesbank Equity

Fund VII, Limited Partnership (“Charlesbank Fund VII”); Charlesbank Equity Fund VIII,

Limited Partnership (“Charlesbank Fund VIII”); Charlesbank Equity Fund IX, Limited

Partnership (“Charlesbank Fund IX”) (collectively with Charlesbank Funds VII and VIII, the

“Charlesbank Funds”) (together with Charlesbank, the “Charlesbank Defendants”); and Bain

Capital Private Equity, LP (“Bain” or “Bain Capital”); Bain Capital Fund XII, L.P., Bain Capital

Fund (DE) XII, L.P., and Bain Capital Fund (Lux) XII, SCSp (collectively the “Bain Funds” or

“Bain Fund XII”) (together with Bain, the “Bain Defendants”) (together with Varsity, USASF,

Jeﬀ Webb and the Charlesbank Defendants, “Defendants”) and allege as follows:

  I.     NATURE OF THE ACTION

         1.     Acting in concert, Defendants Varsity, USASF, Jeﬀ Webb, Bain, Charlesbank and

their co-conspirators conspired to raise, fix and stabilize the prices charged associated with

Competitive Cheer. Defendants did so by forming a scheme to create an illegal monopoly and to

dominate Competitive Cheer in the United States (the “Scheme,” “Exclusionary Scheme,” or

“Challenged Conduct”). Defendants accomplished this through the acts detailed below.         e

Scheme continues today. As a result, cheer athletes, together with their parents, friends, and

family have been overcharged by Defendants. Defendants have obtained hundreds of millions of

dollars in supracompetitive illegal profits.

         2.     Competitive Cheer is a sport in which teams of athletes develop routines

combining tumbling, stunting, pyramids, and dance.       e teams are typically aﬃliated with a

private gym or with a school. Teams compete against one another in Cheer Competitions. Rule-




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making organizations such as USASF set the rules and regulations for Cheer Competitions,

including rules about the apparel athletes can wear in Cheer Competitions.

         3.    Varsity has monopoly power in the market for Cheer Competitions, and it controls

the USASF and all other rule-making organizations governing the sport of Competitive Cheer.

Varsity acquired its monopoly through a systematic program of acquiring its rivals and using its

dominant market position and its control of the rule-making organizations to create barriers to

foreclose competition in the Cheer Competition Market.

         4.    Varsity also manufactures and sells the apparel, accessories, and equipment

athletes are required to use in Cheer Competitions and at practices. Varsity has acquired its

largest competitors in the Cheer Apparel Market and leveraged its dominant position in the Cheer

Competition Market to acquire, enhance, and maintain monopoly power in the Cheer Apparel

Market.

         5.    Competitive Cheer is a year-round sport. After a competition season that roughly

corresponds with the school year, cheer teams attend camps where they work on their skills and

develop their routines. Here again, Varsity has leveraged its power in the Cheer Competition

Market to acquire, enhance, and maintain monopoly power in the Cheer Camp Market.

         6.    As a direct and proximate result of Varsity’s unlawful and anticompetitive

Exclusionary Scheme, Plaintiﬀs and the members of the Classes (defined below) have indirectly

paid higher prices for Cheer Competitions, Cheer Apparel, and Cheer Camps, as well as related

goods and services, than they would have paid in a competitive marketplace absent the

Exclusionary Scheme, and have thereby suﬀered, and continue to suﬀer, antitrust injury.

 II.     JURISDICTION AND VENUE

         7.       e Court has jurisdiction over Plaintiﬀs’ claim for injunctive relief pursuant to

Section 16 of the Clayton Act, 15 U.S.C. § 26.     e Court also has subject matter jurisdiction

under 28 U.S.C. §§ 1331, 1332(d), 1337(a), and 1367.

         8.       is Court has personal jurisdiction over Defendants because they purposefully

directed their business activities toward this jurisdiction and had substantial contacts with this



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jurisdiction, and because Plaintiﬀs’ claims for relief arise from and relate to illegal acts

committed by Defendants within this jurisdiction. Plaintiﬀs paid unlawful overcharges to Varsity

and suﬀered antitrust injury within this jurisdiction.

         9.    Venue is appropriate within this District under 28 U.S.C. §1391 because, at all

relevant times, Defendants transacted business within this District, and the interstate trade and

commerce described hereinafter was and is carried out, in substantial part, in this District.

         10.   Defendants engaged in conduct inside the United States that caused direct,

substantial, and reasonably foreseeable and intended anticompetitive eﬀects upon interstate

commerce within the United States.

         11.   Defendants’ activities were within the flow of, and were intended to and did have

a substantial eﬀect on, interstate commerce of the United States. Defendants’ products and

services are sold in the flow of interstate commerce.

         12.   By reason of the unlawful activities hereinafter alleged, Defendants’ unlawful

activities substantially aﬀected commerce throughout the United States, causing injury to

Plaintiﬀs and the geographically dispersed Class members. Defendants, directly and through

their agents, engaged in activities aﬀecting all states, to obtain and maintain monopolistic power

in the Relevant Markets and charge supracompetitive prices to Plaintiﬀs and the Classes for

Cheer Competitions, Cheer Apparel and Cheer Camps, unreasonably restrained trade, and

adversely aﬀected the above-described markets.

III.     PARTIES

         A. Plaintiﬀs

         13.   Plaintiﬀ Jessica Jones is the parent of two Competitive Cheer Athletes who were

members of All-Star Gyms. During the Class Period, Ms. Jones indirectly paid Varsity for

enrollment in Cheer Competitions and indirectly purchased Cheer Apparel manufactured and

sold by Varsity. Ms. Jones paid artificially inflated prices for goods and services purchased

indirectly from Varsity in the Relevant Markets, and thus has suﬀered economic harm and

damages as a direct and proximate result of Defendants’ unlawful conduct. At all times relevant



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to this litigation, Ms. Jones was and is a citizen and resident of the United States, currently

residing in Wichita, Kansas.

       14.     Plaintiﬀ Christina Lorenzen is the parent of a Competitive Cheer Athlete who was

a member of a school team. During the Class Period, Ms. Lorenzen indirectly paid Varsity for

enrollment in Varsity School Competitions and indirectly purchased Cheer Apparel manufactured

and sold by Varsity. Ms. Lorenzen paid artificially inflated prices for goods and services

purchased indirectly from Varsity in the Relevant Markets, and thus has suﬀered economic harm

and damages as a direct and proximate result of Defendants’ unlawful conduct. At all times

relevant to this litigation, Ms. Lorenzen was and is a citizen and resident of Berthoud, Colorado.

       B. Varsity Defendants

       15.     Defendant Varsity Brands, LLC—formerly known as Varsity Brands, Inc.— is a

Delaware corporation with its principal place of business in Memphis, Tennessee. It is the

corporate parent company of Defendants Varsity Spirit, LLC and Varsity Spirit Fashion &

Supplies, LLC. At all times relevant to this Complaint, either directly or through the aﬃliates it

wholly owns and/or controls, Varsity Brands (a) organized, promoted, produced, and/or managed

Cheer Competitions throughout the United States, including in this District; (b) manufactured,

distributed, marketed, and/or sold Cheer Apparel that was sold and purchased throughout the

United States, including in this District; and (c) organized, operated, and managed Cheer Camps

attended by Competitive Cheer Athletes throughout the United States, including in this District.

       16.     Defendant Varsity Spirit LLC—formerly known as Varsity Spirit Corporation—is

a Tennessee corporation with its principal place of business in Memphis, Tennessee. At all times

relevant to this Complaint, either directly or through the aﬃliates it wholly owns and/or controls

(including Universal Cheerleading Association (“UCA”) and National Cheerleading Association

(“NCA”), among others, Varsity Brands (a) organized, promoted, produced, and/or managed

Cheer Competitions throughout the United States, including in this District; (b) manufactured,

distributed, marketed, and/or sold Cheer Apparel that was sold and purchased throughout the




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United States, including in this District; and (c) organized, operated, and managed Cheer Camps

attended by Competitive Cheer Athletes throughout the United States, including in this District.

        17.     Defendant Varsity Spirit Fashion & Supplies Inc. (“Varsity Spirit Fashion”) is a

Minnesota corporation with its principal place of business in Memphis, Tennessee. At all times

relevant to this Complaint, either directly or through the aﬃliates it wholly owns and/or controls,

Varsity Brands: (a) organized, promoted, produced, and/or managed Cheer Competitions

throughout the United States, including in this District; and (b) manufactured, distributed,

marketed, and/or sold Cheer Apparel that was sold and purchased throughout the United States,

including in this District.

        C. Defendant USASF

        18.     Defendant U.S. All Star Federation, Inc. (“USASF”) is a Tennessee non-profit

corporation with its principal place of business in Memphis, Tennessee. At all times relevant to

this Complaint, USASF, either directly and/or through its aﬃliates, which it wholly owns and/or

controls has: (a) promulgated and/or enforced rules governing Cheer Competitions and, more

broadly, Competitive Cheer throughout the United States, including in this District; and (b)

organized, promoted, produced, and/or managed Cheer Competitions throughout the United

States, including in this District and furthered the goals and purposes of the conspiracy and other

anticompetitive activity as set forth herein.

        D. Defendant Jeﬀ Webb

        19.     Defendant Jeﬀ Webb, a resident of Memphis, Tennessee, is the founder and

Chairman of the board of directors of Varsity Brands, LLC. He was Varsity’s president until

2017. At all times relevant to this complaint, Mr. Webb exercised control over all decisions

about: (a) acquisitions of rival cheerleading event producers, apparel manufacturers and cheer

camp providers throughout the United States, including this District; (b) pricing and policies for

Cheer Competitions, Cheer Apparel, and Cheer Camps throughout the United States, including

this District; and (c) investing in and conspiring with Cheer Competition rule-making

organizations throughout the United States, including this District.   rough these and other acts



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Mr. Webb played a key role in the conception and execution of the alleged unlawful conspiracy

as set forth herein.

        E. Charlesbank Defendants

        20.     Defendant Charlesbank Capital Partners LLC (“Charlesbank”) is a Massachusetts

limited partnership with its principal place of business in Boston, Massachusetts. Founded in

1998, Charlesbank is a private equity firm with more than $15 billion of cumulative capital

raised since its inception. Charlesbank typically acquires ownership interests in companies with

enterprise values of $150 million to $3 billion. Companies in which Charlesbank acquires an

ownership stake are referred to as “portfolio companies.” Far from being a passive capital

investor, Charlesbank states that it maintains an “intense and regular involvement” in each

portfolio company. Charlesbank’s targets include privately held companies seeking to accelerate

growth through acquisition, facilitate ownership change, or recapitalize their balance sheets.

        21.     From 2014 to 2018, Charlesbank and Charlesbank Funds VII and VIII owned

Varsity. To carry out its “intense and regular involvement” in the business aﬀairs of Varsity, and

in its direction and furtherance of the anticompetitive Exclusionary Scheme, Charlesbank used

and continues to use a complex maze of related Charlesbank entities, including investment funds

which operate as limited partnerships. Among other things, Charlesbank used and continues to

use this maze to conceal its involvement in and avoid responsibility for the Exclusionary

Scheme.

        22.     Defendant Charlesbank Equity Fund VII, Limited Partnership (“Charlesbank

Fund VII”) is a Massachusetts limited partnership with its principal place of business in Boston,

Massachusetts.1 Charlesbank Fund VII has held an ownership interest in Varsity since 2014.

1
 Technically, Charlesbank Fund VII is comprised of Defendant Charlesbank Equity Fund VII,
Limited Partnership, and three aﬃliated funds: Charlesbank Equity Coinvestment Fund VII,
Limited Partnership; CB Parallel Fund VII, Limited Partnership; and CB Oﬀshore Equity Fund
VII, L.P. e same entity, Charlesbank Equity Fund VII GP, Limited Partnership, is either the
direct or indirect general partner of Charlesbank Fund VII and each of its aﬃliates, all of which
are advised and controlled by Charlesbank and/or Charlesbank principals and acted as a unit in
furtherance of the Exclusionary Scheme.



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        23.    Defendant Charlesbank Equity Fund VIII, Limited Partnership (“Charlesbank

Fund VIII”) is a Massachusetts limited partnership with its principal place of business in Boston,

Massachusetts.2 Charlesbank Fund VIII has held an ownership interest in Varsity since 2014.

        24.    Defendant Charlesbank Equity Fund IX, Limited Partnership (“Charlesbank Fund

IX”) is a Massachusetts limited partnership with its principal place of business in Boston,

Massachusetts.3 Charlesbank Fund IX has held an ownership interest in Varsity since 2018.

        25.    At all relevant times, Charlesbank controlled the Charlesbank Funds and their

aﬃliates through interlocking directors, oﬃcers and principals, including but not limited to



                                                                        .4 Each of these
individuals were and/or are actively involved in the management and operations of Varsity.

        26.      e Charlesbank Defendants operate as a common enterprise and single economic

unit.   ey use the same oﬃce space and principal place of business (i.e., 200 Clarendon Street,

54th Floor, Boston, MA 02116). Mail sent to the any of the Charlesbank Funds is directed to the

same address “c/o Charlesbank Capital Partners.” Control and management of the Charlesbank



2
 Charlesbank Fund VIII is comprised of Defendant Charlesbank Equity Fund VIII, Limited
Partnership, and three aﬃliated funds: Charlesbank Equity Coinvestment Fund VIII, Limited
Partnership; CB Oﬀshore Equity Fund VIII, L.P.; and CB Associates Fund VIII, Limited
Partnership. Charlesbank is the general partner of CB Associates Fund VIII, Limited Partnership.
A single entity, Charlesbank Equity Fund VIII GP, Limited Partnership, is the general partner of
Charlesbank Fund VIII and Charlesbank Equity Coinvestment Fund VIII, Limited Partnership.
Also, Charlesbank Fund VIII and each of its aﬃliates are advised and controlled by Charlesbank
and/or Charlesbank principals and acted as a unit in furtherance of the Exclusionary Scheme.
3
  Charlesbank Fund IX is comprised of Defendant Charlesbank Equity Fund IX, Limited
Partnership and three aﬃliated funds: CB Oﬀshore Equity Fund IX, Limited Partnership;
Charlesbank Executives Fund IX, Limited Partnership; and Charlesbank Associates Fund IX,
Limited Partnership. A single entity, Charlesbank Equity Fund IX GP, Limited Partnership, is
either the direct or indirect general partner of Charlesbank Fund IX and each of its aﬃliates, all
of which are advised and controlled by Charlesbank and/or Charlesbank principals and acted as a
unit in furtherance of the Exclusionary Scheme.
4




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        F. Bain Defendants

        29.    Bain Capital Private Equity, LP (“Bain” or “Bain Capital”) is a Massachusetts

limited partnership, with its principal place of business in Boston, Massachusetts. Founded in

1984, Bain is a private equity firm with approximately $175 billion in assets under management.

Companies in which Bain acquires an ownership stake are referred to as “portfolio companies.”

Far from being a passive capital investor, Bain pioneered a “consulting-based approach” to

private equity investing, partnering closely with management teams of its portfolio companies,

including but not limited to active involvement in the day-to-day operations and decision making

of its portfolio companies. Collectively, more than 10% of Bain’s private equity funds’

commitments come from its own professionals, including partners and managing directors,

which is far more than industry convention.

        30.      e Bain Defendants have owned Varsity since 2018. To carry out its business

with respect to Varsity, Bain uses a complex maze of related entities, including investment funds

which operate as limited partnerships.

        31.    Defendant Bain Capital Fund XII, L.P. is a Cayman Islands limited partnership

with its principal place of business in Boston, Massachusetts.

        32.    Defendant Bain Capital Fund (DE) XII, L.P. is a Delaware limited partnership

with its principal place of business in Boston, Massachusetts.

        33.    Defendant Bain Capital Fund (Lux) XII, SCSp is a Luxembourg special limited

partnership with its headquarters in Boston, Massachusetts.

        34.    Defendants Bain Capital Fund XII, L.P., Bain Capital Fund (DE) XII, L.P., and

Bain Capital Fund (Lux) XII, SCSp (collectively the “Bain Funds” or “Bain Fund XII”) have

held a majority controlling ownership interest in Varsity since 2018.6 At all relevant times, Bain

controlled Bain Fund XII and its aﬃliates.


6
 In addition to the named defendants, Bain Fund XII also includes BCIP Associates V, LP and
BCIP Associates V-B, LP. ese aﬃliated funds are Delaware limited partnerships, which, until
March 2023, shared headquarters with the Bain Defendants in Boston, Massachusetts.



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        37.       e Bain Defendants purchased Varsity in 2018 to obtain the benefits of Varsity’s

monopoly power in the Cheer Competitions, Cheer Apparel, and Cheer Camps markets

throughout the United States, and in this District.    e Bain Defendants provided funding to

enhance, extend, and protect Varsity Brands’ monopoly power and obtained financial rewards

and benefits from having done so and continue to do so as forth herein.

IV.     AGENTS & CO-CONSPIRATORS

        38.       e anticompetitive and unlawful acts alleged against Defendants in this

Complaint were authorized, ordered, or performed by their oﬃcers, agents, employees,

representatives, or shareholders while actively engaged in the management, direction or control

of Defendants’ business or aﬀairs.

        39.       e oﬃcers, agents, employees, representatives, or shareholders operated under

the explicit and apparent authority of their principals. As set forth in detail herein, the agents held

themselves out as acting for or on behalf of their respective principals.    e agents acted within

the scope of their explicit and apparent authority, binding their respective principals.

        40.     Each Defendant, and its respective subsidiaries, aﬃliates and agents operated as a

single unified entity.

        41.     Whenever in this Complaint reference is made to any act, deed, or transaction of

any corporation, the allegation means that the corporation engaged in the act, deed, or transaction

by or through its oﬃcers, directors, agents, employees, or representatives while they were

actively engaged in the management, direction, control, or transaction of the corporation’s

business or aﬀairs.

        42.     Individuals alleged to have engaged in misconduct in violation of the laws listed

herein are alleged to have done so on behalf of all members of their corporate family, i.e.,

Varsity. Individuals within the companies and customers did not know or did not distinguish

between the corporate aﬃliations of diﬀerent individuals. Varsity Brands, Varsity Spirit, and

Varsity Spirit Fashion all aﬃrmatively and collectively represent themselves as one corporate




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family, rather than separate subsidiaries and parents. For instance, and without limitation, the

Varsity Brands website states “WE ARE…Varsity Spirit.”

       43.     Various persons, businesses, or fictitious persons not named as Defendants herein

participated as co-conspirators in the Exclusionary Scheme alleged herein and may have

performed acts and made statements in furtherance thereof. For example, various businesses,

through the aid or assistance of Varsity, promoted Varsity-aﬃliated activities and earned

substantial income from such activities, with the knowledge, support and encouragement of

Varsity and other co-conspirators. Plaintiﬀs reserve the right to name some or all of these persons

as defendants at a later date.

 V.    CLASS ALLEGATIONS

       44.     Plaintiﬀs bring this action on behalf of themselves, under Federal Rule of Civil

Procedure 23(a), (b)(1), and (b)(2), as representatives of a class of indirect purchasers seeking

injunctive relief (“Injunctive Relief Class”) defined as follows:

               All natural persons and entities in the United States that indirectly
               paid Varsity or any Varsity subsidiary or aﬃliate, from December
               10, 2016, until the continuing Exclusionary Scheme alleged herein
               ends (the “Class Period”) for: (a) registration, entrance, or other fees
               and expenses associated with participation in one or more Varsity
               Cheer Competitions, including registration fees to USASF; (b)
               Varsity Cheer Apparel; (c) Varsity Cheer Camp Fees; or (d)
               accommodations at one or more Varsity Cheer Competitions,
               including registration fees to USASF; (b) Varsity Cheer Apparel; or
               (c) Varsity Cheer Camp Fees.

       45.     Plaintiﬀs also bring this action under Federal Rules of Civil Procedure 23(a) and

(b)(3), as representatives of a class seeking damages for violations of various state antitrust and

consumer protection laws (“State Law Damages Class”) defined as follows:
               All natural persons and entities in the United States that indirectly
               paid Varsity or any Varsity subsidiary or aﬃliate, from December
               10, 2016, until the continuing Exclusionary Scheme alleged herein
               ends (the “Class Period”) for: (a) registration, entrance, or other fees
               and expenses associated with participation in one or more Varsity
               Cheer Competitions; (b) Varsity Cheer Apparel; (c) Varsity Cheer
               Camp Fees; or (d) accommodations at one or more Varsity Cheer
               Competitions, in Arizona, Arkansas, California, Connecticut, the



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                 District of Columbia, Florida, Hawaii, Idaho, Iowa, Kansas, Maine,
                 Massachusetts, Maryland, Michigan, Minnesota, Mississippi,
                 Missouri, Nebraska, Nevada, New Hampshire, New Mexico, New
                 York, North Carolina, North Dakota, Oregon, Rhode Island, South
                 Dakota, Tennessee,9 Utah, Vermont, Washington, West Virginia, and
                 Wisconsin.

        46.      Excluded from the Classes are Defendants, their parent companies, subsidiaries

and aﬃliates, oﬃcers, executives, and employees; defendants’ attorneys in this case, federal

government entities and instrumentalities, states or their subdivisions, and all judges and jurors

assigned to this case.

        47.         e members of the Classes are so numerous and geographically dispersed

throughout the United States that joinder of all members is impracticable. Moreover, given the

costs of complex antitrust litigation, it would be uneconomical for many plaintiﬀs to join their
individual claims.

        48.      Plaintiﬀs’ claims are typical of the members of the Classes. Plaintiﬀs and all

members of the Classes were injured by the same wrongful conduct by Defendants. Defendants’

anticompetitive conduct deprived the members of the Classes of the benefits of competition from

less expensive competitions, apparel, equipment, camps, insurance and accommodations, causing

them to pay artificially-inflate supracompetitive prices in the Relevant Markets. Although the

precise number of such individuals is unknown to Plaintiﬀs, Plaintiﬀs believe that the number of

Class members is, at minimum, in the thousands, and that the members reside or are located

throughout the United States, including in this District.

        49.      Plaintiﬀs will fairly and adequately protect and represent the interests of the

Classes.      e interests of the Plaintiﬀs are aligned with, and not antagonistic to, those of the other

Class members.




9
 Claims brought for violations of Tennessee antitrust law were dismissed as to cheer camps and
cheer competitions. See ECF No. 333 at 43; ECF No. 475 at 32.



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        50.    Common questions of law and fact exist as to all members of the Classes.

Defendants’ anticompetitive Exclusionary Scheme commonly implicated and was generally

applicable to all the Class members, thereby making class-wide adjudication and relief

appropriate. Such questions of law and fact common to the Class include, but are not limited to:

               (a)    whether Defendants engaged in a conspiracy in violation of the antitrust

laws;

               (b)    whether the markets for Cheer Competitions, Cheer Apparel, and Cheer

Camps are appropriate relevant markets for analyzing the claims in this case;

               (c)    whether the relevant geographic market is the United States;

               (d)    whether Varsity possesses monopoly power in the Relevant Markets;

               (e)    whether Varsity willfully acquired, maintained, and/or enhanced

monopoly power in the Relevant Markets;

               (f)    whether Varsity and USASF conspired to assist Varsity in maintaining

and/or enhancing dominance in the Relevant Markets;

               (g)    whether Varsity and USASF engaged in overt acts furthering their

conspiracy to maintain and enhance Varsity’s dominance in the Relevant Markets;

               (h)    whether Defendants engaged in unlawful exclusionary conduct to impair

the opportunities of actual or potential rivals in the Relevant Markets and thereby foreclosed

substantial competition in those markets;

               (i)    whether Defendants’ Exclusionary Scheme maintained or enhanced

Varsity’s monopoly power in one or more of the Relevant Markets;

               (j)    whether Defendants engaged in unfair methods of competition, and unfair

and deceptive acts, in violation of state consumer protection laws;

               (k)    whether Defendants’ Exclusionary Scheme had anticompetitive eﬀects in

one or more of the Relevant Markets;




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               (l)     whether Defendants’ actions alleged herein caused injury to Plaintiﬀs and

the Class members by causing them to pay artificially inflated prices in the Relevant Markets

during the Class Period;

               (m)     the appropriate measure of damages; and

               (n)     the propriety of declaratory and injunctive relief.

       51.     Plaintiﬀs are more than adequate representatives of the Classes, and their chosen

class counsel (the undersigned) are more than adequate attorneys. Plaintiﬀs have the incentive,

and are committed to prosecuting this action, for the benefit of the Classes. Plaintiﬀs have no

interests that are antagonistic to those of the Classes. Plaintiﬀs have retained counsel highly

experienced in antitrust and class action litigation.

       52.     Class action treatment is a superior method for the fair and eﬃcient adjudication

of the controversy. Such treatment will permit a large number of similarly-situated persons to

prosecute their common claims in a single forum simultaneously, eﬃciently, and without the

unnecessary duplication of evidence, eﬀort, or expense that numerous individual actions would

engender.    e benefits of proceeding through the class mechanism, including providing injured

persons or entities a method for obtaining redress on claims that could not practicably be pursued

individually, substantially outweighs potential diﬃculties in management of this class action.

       53.     Plaintiffs know of no difficulty to be encountered in the maintenance of this

action that would preclude its maintenance as a class action.

VI.    INTERSTATE TRADE & COMMERCE

       54.     Defendants’ anticompetitive and unlawful conduct as alleged herein has taken

place in and aﬀected the continuous flow of interstate trade and commerce in the United States

by:

               (a)     organizing, promoting, and managing Varsity Cheer Competitions

throughout the United States; and

               (b)     manufacturing, distributing, marketing, and selling Varsity Cheer Apparel

throughout the United States;



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                 (c)      organizing, promoting and managing Varsity Cheer Camps throughout the

United States.

          55.         e Challenged Conduct alleged herein aﬀected billions of dollars of commerce

during the relevant period. During the Class Period, Varsity controlled approximately 80% of the

Cheer Competition Market; 80% of the Cheer Apparel Market and 75% of the Cheer Camp

Market. Plaintiﬀs and the proposed Class members collectively paid billions of dollars to Varsity

for All-Star Cheer and School Cheer Competitions, USASF registration fees, Cheer Apparel, and

Cheer Camps as well for goods and services in related markets like lodging and insurance.

Defendants have inflicted antitrust injury by foreclosing competition by actual and potential

rivals and artificially inflating prices paid by Plaintiﬀs and the Class members, all of whom have

been engaged in commerce, in the Relevant Markets, within the Class Period.

VII.      FACTUAL ALLEGATIONS

          A.     Background

                 1.       About Competitive Cheer

          56.    Competitive Cheer is an activity in which teams of athletes perform routines

lasting

2 minutes and 30 seconds that incorporate elements of tumbling, stunting, pyramids, and

synchronized dance, set to music. In some competitions, the routines also integrate elements of

traditional sideline cheerleading, such as fight songs and motivational cheers. Competitive Cheer

is athletically rigorous and technically challenging. It requires a significant amount of strength,

flexibility, endurance, eﬀort, coordination, focus, and cooperative teamwork.

          57.    Unlike traditional sideline cheer, in which the participants perform on the

sidelines in support of another sport, in Competitive Cheer, the athletes performing the routines

are themselves the main event. Competitive Cheer frequently requires a year-round commitment

from athletes and their families, with training beginning in the Fall, competitions running

through the Winter and Spring, and camps in the Summer.




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       58.     About 4 million athletes participate in Competitive Cheer. It is an expensive sport.

A single season costs between $3,000 and $7,000 per team member.        ese prices can rise to

$20,000 per family, including costs for transportation, lodging, and attendance at Cheer

Competitions and Cheer Camps. Competitive Cheer Athletes frequently attend six or more

competitions a year.

       59.     Competitive Cheer Athletes form teams that participate in Cheer Competitions

with other teams. Cheer Competitions take the form of organized tournaments or similar events

where teams are judged against one another. Cheer Competitions can be local, regional, or

national in scope. For example, there are national tournaments in which teams from across the

United States participate.   ese include the Varsity sponsored UCA, NCA and USA

Championships.     ese are conducted under the auspices of the USASF.

       60.     Cheer Competitions are typically one-day or two-day events hosted on weekends,

although national championships such as      e Summit or the Worlds typically last three to four

days. Teams often travel great distances, either regionally or nationally, depending on the event.

Competitive Cheer Athletes practice for multiple hours a week, all year long, to perfect their

performances for about six of these events each year.

       61.        e number of teams that participate in Cheer Competitions can vary from 50 to

500 teams. Varsity alone puts on over 600 Cheer Competitions across the country annually.        e

events attract some 900,000 participants, including hundreds of teams in the All-Star and School

Cheer divisions. Since approximately 1995, Varsity has partnered with Disney and holds at least

seven major Varsity events at Walt Disney World Resort attended by nearly 200,000 Competitive

Cheer Athletes and spectators annually. Two-day events tend to have more teams than one-day

events, which typically have between 50 and 100 teams.        e maximum number of Competitive

Cheer Athletes that can participate on one Competitive Cheer Team at a competition depends on

the division and age group but can be as high as 38 people.

       62.        ere are three diﬀerent Competitive Cheer divisions: (1) All-Star Cheer, in which

teams are aﬃliated with private gyms; (2) School Cheer, in which teams are aﬃliated with



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middle schools, high schools, or colleges; and (3) Youth & Recreation Cheer, in which teams are

aﬃliated with a recreational organization such as the YMCA, or have no aﬃliation at all.10

                       a.      All-Star Cheer

         63.    In the All-Star Cheer division, athletes join teams that are usually aﬃliated with a

private gym. In All-Star Cheer, athletes’ families typically pay monthly or annual fees to the

gym, which in turn pays Varsity for entry fees to competitions, uniforms, and other related fees.

Varsity controls 90% of the All-Star Cheer Competition Market.

         64.    All-Star Cheer Competitions are events at which All-Star Cheer Teams perform

time-limited routines composed of tumbling, stunting, pyramids, and synchronized dance, set to
music. Tumbling involves gymnastic skills like cartwheels and back handsprings. Stunting refers

to a group of two or more individuals that elevate another cheerleader in the air. Pyramids are a

form of interconnected stunting that involve a large group. Dance is a portion of a routine that

consists of choreographed high-energy dance moves.        e routines are performed and scored

against other All-Star Cheer Teams at various local, regional, national, and worldwide

competitions. All-Star Cheer Competitions involve All-Star Cheer Teams with participants from

a wide variety of age groups, from preschool through college.

         65.    All-Star Cheer Competitions do not involve sideline cheerleading.      ey are not

sponsored by, or associated with, particular schools, intercollegiate athletics (like the National

Collegiate Athletic Association), athletic conferences or similar organizations associated with

college sports or amateur athletics. All-Star Cheer Competitions, instead, are organized by All-

Star Gyms, which are central to the business. Participants typically compete in divisions defined

by the USASF. Participants pay to compete, including fees for events, USASF registration fees,

music licensing and insurance. Participants pay substantial sums to Varsity for associated goods

and services, as set forth herein.




10
  Varsity controls only 10% of the Youth and Recreation Cheer market.        us, Plaintiﬀs are not
including the Youth and Recreation Cheer market in this class action.


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                       b.      School Cheer

          66.   In Varsity’s School Cheer division, athletes join a team aﬃliated with middle

school, high school, or college. Athletes’ families pay participation fees to the school, which in

turn pays entry fees and purchases uniforms and equipment from Varsity, among other charges.

Varsity controls 70% of the School Cheer Competition Market.

          67.   According to parents’ associations, School Cheer is “a discipline of cheer that

involves athletes in a School setting who cheer in support of other sports, most often football and

basketball.” According to USA Cheer, the national governing body for competitive cheerleading,
school teams perform 2 minute and 30 seconds routines composed of tumbling, stunting,

pyramids, and synchronized dance, in addition to elements of traditional sideline cheer such as

band chants, fight songs, and motivational cheers. School teams can also compete in sideline

Cheer Competitions, where they are judged on their ability to present cheers related to fictitious

game situations and on the clarity and energy of their routines.

          68.   National Cheerleading Association and Universal Cheer Association, both owned

by Varsity, promote School Competitions, Cheer Camps, and national tournaments and

championships. Most college teams now attend either NCA or UCA Championships. UCA and

NCA also hold the largest middle and high school Nationals in the country.

          69.     e costs for School Cheer are also high. Participants—in fact their parents,

families and others—must pay for cheer apparel, practice clothes, camps, competitions, which

together frequently exceeds several thousands of dollars per year, not including costs for

transportation to and lodging at competitions, which parents also have to pay for separately.

Varsity earns substantial income and supracompetitive profits as an intended and foreseeable

result.

          70.   Varsity exercises near complete control over the organizations that regulate the

School Cheer Competition Market. Varsity founded USA Cheer and acquired control of AACCA

and has been deeply involved with NFHS, the governing bodies for School Cheer. Varsity owns




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and controls the preeminent School national championships in NCA and UCA. Varsity founder

Jeﬀ Webb, when interviewed, has said that “the idea there was . . . for us to take achievement and

spirit and sport, come together and become an extracurricular partner to the schools so that we

not only sell products, we use the entrée with the cheerleading and graduation to go in and

rebrand the school, help them redefine their mission, to modernize so that more kids are

involved.”

       71.     Many students participate in both All-Star and School Cheer.    ey participate in

School Cheer from August to November.       ey then participate in All-Star Cheer from November

until May after     e Summit, Worlds, and UCA and NCA School and All-Star Championships.

Some students participate in both School and All-Star Cheer simultaneously.

       72.     In 2017, Varsity created the Impact Program to sell rebranding in uniforms and

cheer and dance to Junior Highs, High Schools, and Colleges, as well as VIP branding to sell

additional products to schools. Under the Impact Program, Varsity supplies schools with signage

and other branding merchandise, in exchange for an agreement by the school to attend Varsity

Cheer Competitions and purchase Varsity Cheer Apparel.

               2.      Cheer Apparel

       73.     Cheer Apparel is an important requirement of Cheer Competitions. USASF rules

govern virtually every detail of what All-Star Cheer Athletes may wear in a competition. Soft-

soled shoes—which Varsity manufactures and sells—are required. Skirts, briefs, and shorts must

meet inseam guidelines. Exposed midriﬀs are forbidden for certain age groups, and tops must be

secured over at least one shoulder. Bows cannot be of “excessive size,” jewelry is forbidden, and

makeup must be “uniform and appropriate.”

       74.     Varsity-promoted events operate as a showroom and sales platform for Cheer

Apparel. Varsity entered the Cheer Apparel Market in 1980. Since then, Varsity has, through its

Scheme, gained an 80% share of the Cheer Apparel Market, beginning with its acquisition in

1989 of Varsity Spirit Fashions and Supplies. As part of the Scheme, Varsity has used its

monopoly power in the Cheer Competition Market to: (a) cause All-Star Cheer Gyms to enter



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into exclusive dealing agreements and rebate programs— including Varsity’s Family Plan and

Network Agreements—which make buying from non-Varsity Cheer Apparel competitors

prohibitively expensive; (b) cause School Cheer programs to enter into exclusive agreements

with Varsity through its Impact and VIP Branding programs; (c) exclude Cheer Apparel

competitors from the merchandise showrooms at their Cheer Competitions; (d) acquire (and

often dissolve) Cheer Apparel competitors; and (e) through its influence with the captured

USASF, cause the judges to advantage Competitive Cheer Teams that wear Varsity Cheer

Apparel.

       75.     As one recent article states, “ anks to an aggressive campaign of acquisitions,

rebate plans that make it expensive for gym owners to switch suppliers, and other strategies,

Varsity Spirit, the corporation’s cheer division, commands north of 80 percent of the uniform

market, as estimated by competitors.     e company also wields outsize influence in virtually

every aspect of the industry, including the camps and—most important—the competitions, which

also serve as merchandise showrooms for apparel vendors.”

               3.       Cheer Camp

       76.     Regardless of the level at which they participate, Cheer Athletes participate in

multi-day overnight “camps” where Cheer Athletes practice Competitive Cheer skills, develop

routines and purchase Cheer Apparel (“Cheer Camps”). Cheer Camps, by and large, occur during

the Summer. Cheer Athletes pay to participate in Cheer Camp.

       77.     Summer Cheer Camps are an integral part of All-Star and School Cheer and

Varsity is the dominant player in the market. Varsity’s Cheer Camp division is one of its most

profitable. Varsity-promoted Cheer Camps operate as a showroom and sales platform for Cheer

Apparel and other income streams of the anticompetitive Scheme.

       78.          rough its Scheme, Varsity has acquired and maintained control over 75% of the

Cheer Camp Market. Varsity is the largest Cheer Camp operator in the world. About 330,000

team athletes attend 4,000 Varsity Cheer Camps each summer. Varsity Brands oﬀers Cheer

Camps for all age groups but most prominently for high school and college age athletes.



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       79.       Varsity oﬀers School, All-Star, and Youth and Rec Cheer Camps, in large part

during the Summer months, through its aﬃliates and assumed names, including: UCA, NCA,

United Spirit Association, Cheerleading Techniques Camps, American Cheerleaders Association,

Spirit Xpress Cheerleading, American Cheer Power, V!ROC, and Spirit Cheer.

       80.       Varsity controls the premier Cheer Camps in the country. When Jeﬀ Webb left

NCA and started UCA, Cheer Camps were a large part of its portfolio. Varsity then set about

acquiring or driving out its largest competitors, eventually acquiring monopoly power in the

Cheer Camp Market.

       81.       Varsity acquired United Spirit Association (USA) Cheer Camps in 1994. USA is

the largest Summer Cheer Camp promoter in the Western United States, conducting camps

primarily in Arizona, Arkansas, California, Colorado, Hawaii, Idaho, Montana, New Mexico,

Nevada, Oregon, Texas, Utah, Washington, and Wyoming.

       82.       In 1996, Varsity acquired United Special Events, a large California camp

promoter.

       83.       In 2004, Varsity acquired NCA and its portfolio of camps, which are held across

the country.

                 4.     Varsity

       84.       Defendant Varsity was founded by Jeﬀrey Webb in 1974.

       85.       Today, Varsity produces over 600 Cheer Competitions in the United States

annually in which approximately 900,000 athletes participate each year. Varsity produces the

largest and most prestigious tournaments, including several national tournaments that attract

more than 20,000 athletes at a time. Varsity is also the largest producer of Cheer Camps in the

United States.

       86.       Varsity controls 90% of the All-Star Cheer Competition Market and 70% of the

School Cheer Competition Market. Varsity is a monopolist that has possessed and continues to

possess monopoly power.




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          87.   Varsity manufactures and sells clothing, shoes, accessories like bows, and

equipment (such as backpacks, pom poms, and megaphones) specifically intended for Cheer

Athletes to wear and use at practice and in competitions (“Cheer Apparel”). Varsity acquired its

monopoly power in the Cheer Apparel and Cheer Competition Markets by acquiring other Cheer

Apparel manufacturers, by leveraging its monopoly power and by creating incentives—in the

form of rebates for All-Star Gyms and free branding merchandise for schools—to sign exclusive

contracts with Varsity. Under these contracts, All-Star Gyms and schools agree to purchase

Varsity Cheer Apparel exclusively. Additionally, Varsity has created artificial barriers to entry in

the form of competition rules that favor Varsity Cheer Apparel. Varsity Founder Jeﬀ Webb has

admitted that competition judges have awarded more points to teams that used Varsity equipment

as props. Varsity holds an 80% market share in the Cheer Apparel Market.

          88.   Varsity organizes and operates Cheer Camps, which are a requirement to enter

most if not all competitions. Approximately 330,000 Cheer Athletes attend Varsity Cheer Camps

every year. Varsity is a dominant producer of Cheer Camps. Varsity controls 75% of the Cheer

Camp Market.

          89.   For Competitive Cheer Athletes and their parents, All-Star Gyms and schools act

as gateways to the sport of Competitive Cheer. Parents pay fees and other costs to the All-Star

Gyms or schools with which their children’s teams are aﬃliated, and the All-Star Gyms or

schools use those fees to set up the teams, select the competitions they will compete in, register

and pay entrance fees for the competitions, purchase uniforms and equipment for the athletes,

and frequently select the camps the athletes will attend, among other things.     us, the parents’

fees to the All-Star Gyms and schools indirectly pay for Varsity’s artificially inflated prices for

general competition fees, USASF registration fees, apparel, camps, lodging and insurance.

Varsity earns substantial income and supracompetitive profits as an intended and foreseeable

result.

          90.   For Varsity and its co-conspirators, on the other hand, All-Star Gyms and schools

are the conduits that Varsity uses to gain access to the parents of Competitive Cheer Athletes and



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to funnel them into the Varsity monopoly.      e goal is to obtain the hard-earned money the

parents devote to their children’s activities and to obtain it at supracompetitive prices. By

establishing exclusive relationships with All-Star Gyms and schools, Varsity and its co-

conspirators obtain exclusive access to the parents that provide the funding for the income

produced in the Relevant Markets.

                       a.      A Brief History of Varsity

         91.   In 1948, Lawrence Herkimer, a former cheerleader at Southern Methodist

University, founded a cheerleading business that he named the National Cheerleaders
Association (“NCA”). Herkimer was instrumental in modern day cheer, Herkimer patented pom-

poms and created the “Herkie Jump.” Under Herkimer, the NCA ran cheer camps and sold

sweaters and skirts. At the time, there were no Cheer Competitions, nor did Competitive Cheer

exist.

         92.   In the late 1960’s Jeﬀ Webb, Varsity’s founder and former CEO, went to work at

the NCA after completing his cheerleading career at the University of Oklahoma. Webb quickly

rose the ranks. His view of cheerleading’s future diﬀered from Herkimer’s. Herkimer explained

to Sports Illustrated in 1991 that “[o]ur people are teachers, not showoﬀs,” but Webb “hired hot

dogs.”

         93.   In 1974, Webb left the NCA and took some of Herkimer’s top employees with

him to form his own cheerleading business, the Universal Cheerleaders Association (“UCA”),

which was similar to the NCA but with Webb’s own added twists: more focus on gymnastics-like

skills and new tournaments created solely for cheer squads.

         94.   In 1983, Webb changed the business’s name from Universal Cheerleaders

Association to Varsity Spirit, Inc. Varsity owns and operates UCA, which continues to be one of

Varsity Brands’ subsidiaries to this day.




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       95.     In June 1997, Riddell acquired Varsity Spirit, Inc. and its subsidiaries for $91

million. Jeﬀ Webb, at that time the President and CEO of Varsity, became Vice Chair of the

Board of Directors.

       96.     Varsity was a publicly traded company between 2001 and 2003.

       97.     In 2003, Leonard Green and Partners took Varsity private in a deal valued at $131

million, and changed the name to Varsity Brands, Inc.

       98.     In December 2014, Charlesbank and Charlesbank Funds VII and VIII acquired

Varsity, including Varsity Brands, Inc. and Varsity Spirit, Inc. for approximately $1.5 billion

(“Charlesbank Acquisition” or “2014 Acquisition”).




       99.     Prior to the 2014 Acquisition,




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   100.   To fund the 2014 Acquisition,




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       105.   In or around November 2016,




       106.   In or around January 2018,




       107.   In July 2018, Varsity was acquired by the Bain Defendants for approximately $2.9

billion (“Bain Acquisition” or “2018 Acquisition”).



       108.   Prior to the 2018 Acquisition,




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        115.    Subsequent to joining the Exclusionary Scheme, none of the Bain Defendants or

Charlesbank Defendants have withdrawn from the Exclusionary Scheme. In fact, their conduct

has continued to this day.

        116.    In 2018, Varsity agreed with ESPN Wide World of Sports at Walt Disney World

Resort to create a venue specially designed for cheerleading and dance competitions.            e 8,000

seat, 286,000-square-foot Competitive Cheer complex opened in January 2018, hosting the UCA

and UDA College Cheerleading and Dance Team National Championship on January 12-14,

2018. Referring to the new Competitive Cheer facility, Jeﬀ Webb said, “Varsity Spirit invented

the modern-day cheerleading and dance competition and we are proud to be the force behind this

project, which represents our commitment to providing the very best and safest environment in

the world for our athletes and coaches.”

                        b.      Varsity Has Acquired Monopoly Power in the Cheer
                                Competition Market by Acquiring or Impairing Rival
                                Promoters.

        117.    Varsity did not obtain its market dominance through skill, innovation, or good

fortune. For more than fifteen years, and at all times relevant to this litigation, Varsity has

pursued an aggressive strategy of acquiring its competitors, with a near-obsessive focus on

consolidating market power and acquiring or impairing any potential rivals, resulting in a

dominant market share in the Cheer Competition Market. Several times during Varsity’s history,

it has purchased its largest rivals in the Cheer Competition Market. As one former competitor

whose apparel business was acquired by Varsity in 2010—only to be subsequently shut down—

put it, “I just think Jeﬀ [Webb] is very driven . . . .   ere is enough out there for all of us [i.e.,

Varsity’s competitors]. Why make it so diﬃcult? It’s like he has to have 100 percent. He can’t be

happy with just 95 percent.”

        118.    In 2004, Varsity acquired National Spirit Group, its largest rival at the time.

  rough the transaction, Varsity acquired Herkimer’s National Cheerleaders Association




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(“NCA”), the Universal Dance Association (“UDA”), and Cheerleader & Danz Apparel. After

the merger, Varsity’s revenue grew to $244 million that year.

        119.       In 2011, Varsity acquired Spirit Festival, another rival that organized the very

popular Spirit Fest and Cheer.

        120.       In 2012, Varsity acquired Spirit Holdings, which owned CHEERSPORT,

CheerLogistics, and Universal Spirit (collectively “Spirit”). At the time. Spirit was one of

Varsity’s largest competitors—promoting over 30 competitions a year—and CHEERSPORT held

a National event in Atlanta that attracted over 900 cheerleading and dance teams from around the

United States.

        121.       In 2014, Varsity acquired Cheer Limited, one of Varsity’s largest rivals. At the

time, Cheer Limited produced more than 25 competitions each year, including the Cheer Ltd.

Nationals at CANAM and the NCHSAA State High School Cheerleading Championship.

        122.       In November 2015, Varsity acquired its largest remaining competitor,      e JAM

Brands. As one article described it, Varsity’s acquisition of      e Jam Brands, then “the second-

largest event producer[,]” was “one of Varsity’s most audacious moves . . . . JAM Brands ran

most of the high-profile competitions that Varsity doesn’t own. Together, they control roughly 90

percent of the major events, say competitors.”

        123.       Prior to the acquisition,    e JAM Brands was an Independent Event Producer

(“IEP”) and Varsity’s chief competitor.         e JAM Brands produced Cheer Competitions that

included divisions for high school, college, and All-Star Cheer Teams, as well as recreational

divisions.     e JAM Brands owned Cheerleaders of America (“COA”), a major IEP in Ohio, and

America’s Best, an IEP in Texas.

        124.         e JAM Brands produced many of the largest and most popular Cheer

Competitions in the United States, including         e MAJORS, the very popular U.S. Finals, and the

JAMFest Cheer Super Nationals, at which over 550 Competitive Cheer Teams competed. Prior to

its acquisition,     e JAM Brands was a disruptive, aggressive and innovative competitor,

introducing new event concepts that competed directly with Varsity’s Cheer Competitions and



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had the potential of challenging Varsity’s dominance. Prior to its acquisition by Varsity,   e JAM

Brands generally oﬀered free admission to event spectators, many of whom are the parents and

other family members of the event participants.

       125.    In addition, with the acquisition of   e JAM Brands, Varsity also gained control

over   e JAM Brands’ board seats on the USASF and the International All Star Federation

(“IASF”), solidifying Varsity’s control over one of the major sanctioning bodies with respect to

Competitive Cheer. As noted below, Varsity used its control over regulating bodies to erect

barriers to entry and to foreclose competition in the Relevant Markets.

       126.    Soon after acquiring    e Jam Brands, Varsity sent a letter to All-Star Gym

owners, assuring them, “For you as a customer, nothing will change.” Yet Varsity increased its

registration fees for Cheer Competitions within a year.

       127.    In 2016-2017, following its acquisition of      e JAM brands, Varsity continued to

acquire actual or potential competitors in the Cheer Competition Market, including Aloha

Productions, Spirit Celebrations, Mardi Gras Spirit, and Team Epic Brands.

                       c.     Varsity Has Acquired Monopoly Power in the Cheer Apparel
                              Market by Acquiring or Impairing Rival Promoters.

       128.    In 2010, Varsity acquired Just Briefs, a cheerleading apparel company and hired

its CEO, Tish Reynolds. Soon thereafter, Varsity closed the company. Reynolds admitted that,

“[b]asically he [i.e. Jeﬀ Webb] wanted me out the market.”

       129.    In 2012, Varsity acquired BSN for $460 million. At the time, BSN was the largest

provider of team uniforms, including those used by participants in Competitive Cheer in the

United States. At the time, BSN had a sales staﬀ of over 800 employees. After the transaction,
BSN became a wholly owned subsidiary of Varsity.          rough this acquisition Varsity became the

largest “K-through-Colleges” sales force of Cheer Apparel in the United States.

       130.    In late 2015, Varsity extended its reach in the Cheer Apparel Market with its

purchase of Allgoods, LLC, an apparel company based in Texas that has generated more than

$38 million selling custom clothing for thousands of schools and other programs.



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       131.      Varsity prohibits other Cheer Apparel manufacturers from displaying their

merchandise at Varsity Cheer Competitions. As alleged herein, Varsity operates the largest and

most prestigious Cheer Competitions in the United States.      ese events function as market-

dominant trade shows, providing a crucial marketing platform for manufacturers of Cheer

Apparel with the goal of reaching Cheer Athletes, their target audience. By foreclosing rivals’

access to these competitions, Varsity impedes would-be rivals’ ability to compete in the Cheer

Apparel Market.

                        d.      Varsity Enhances Its Market Dominance by Exercising Near-
                                Complete Control over the Organizations at Set the Rules.

       132.      Varsity pursued a deliberate strategy of controlling the Competitive Cheer

industry through its control of organizations that administer and govern Competitive Cheer.

Varsity provides those organizations with funding, staﬃng, and oﬃce space. When independent

organizations have sprung up, Varsity has acted quickly to bring them under its control either by

acquiring them outright or by putting its own executives into positions of power within the

organizations.

                                i.     USASF

       133.      In 2003, a group of cheerleading coaches formed an independent 501(c)(3)

organization, called the National All-Star Cheerleading Coaches Congress (NACCC), to
establish uniform rules for All-Star Cheer.    e organization was open to all event producers,

coaches and gyms.      rough the NACCC, the initial set of universal All-Star cheerleading rules

was established.

       134.      Sensing a threat to its business and monopoly power, Varsity joined with other

promoters to create the USASF in 2003. Varsity provided initial capital to USASF in the form of

a $1.8 million interest free loan.

       135.      Varsity controlled USASF from its inception. Varsity submitted the original

trademark application for the marks “U.S. All Star Federation” and “USASF,” listing itself as

owner. For at least the first 15 years of its existence, the USASF’s oﬃces were located at



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Varsity’s corporate address, a Varsity representative answered the phone for the USASF, USASF

employees were paid directly by Varsity, and Varsity cashed checks issued to the USASF. For the

USASF events held at Walt Disney World, all event costs would be billed to Varsity.

       136.   Varsity owned the USASF trademarks until 2017. USASF published uniform

rules and judging standards for Cheer Competitions. Varsity used the USASF as a means to

neutralize the NACCC and extend its control over the Competitive Cheer industry.

       137.   In 2005, USASF acquired the NACCC. Under the agreement, NACCC was to

become the “rules committee” of USASF in perpetuity.     e meeting was run by Jeﬀ Webb in his

boardroom in Memphis with no other USASF board members present. Within a few years,

Varsity dissolved NACCC. After the demise of NACCC, Varsity, through the USASF controlled

rules changes and other decisions.

       138.   While USASF was a separate legal entity, USASF was the cat’s paw of Varsity:

the USASF employees shared oﬃces with Varsity at Varsity’s headquarters in Tennessee for

many years during the relevant period. Also, during the relevant period, Varsity paid USASF

employees.

       139.   USASF’s bylaws provided, among other things, that a permanent majority of

USASF’s voting board members are allocated to seven Cheer Competition brands (UCA,

CheerSport, NCA, USA, American Cheerleaders Association, Universal Dance Association, and

JAMFest). Varsity currently owns all of these brands.

       140.   Varsity controls the USASF Board of Directors.     e USASF board is empowered

to set policy for the USASF.   e Board is composed of 13 voting members, one seat each for the

seven Cheer Competition producers that started the USASF, the USASF Chairman, a senior

USASF staﬀ member, and four program owner members, including the Chairman of the National

All Stars Connection. Two USASF board seats are permanent and are held by representatives

named by the Chairman of the USASF. As Varsity has acquired more and more of the USASF’s

founding event producers, it has continued to expand its control of the USASF Board. Since the




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acquisition of    e JAM Brands and Epic Brands, Varsity has control of 75% of the seats on the

Board of Directors.     e seats that Varsity does not control do not have voting rights.

       141.      In addition, as Varsity has acquired additional Independent Event Producers

(“IEPs”), it has gained control of additional seats on the USASF board. By the time it completed

its acquisition of Epic Brands in January 2018, the vast majority of the USASF Board of

Directors was aﬃliated with Varsity, more than enough for Varsity to dictate USASF policy.

       142.        e USASF’s website is located at www.usasf.net, a URL owned by Varsity.

Varsity now seeks to conceal its ownership and control of the URL behind the registration of

“PERFECT PRIVACY, LLC.”

                                ii.     Other Regulatory Organizations

       143.      In 2003, Varsity entered into an arrangement with the National Federation of State

High School Associations (“NFHS”), which sets the rules for many high school sports

throughout the United States. Varsity paid approximately $3 million dollars for seven years until

2010 in exchange for the endorsement by NFHS of Varsity’s cheerleading and dance

championships. Varsity pays NFHS contingent fees based on American Association of

Cheerleading Coaches and Administrators (“AACCA”) membership and participant increases

over an established base level.

       144.      In 2007, Varsity established USA Cheer (USA Federation for Sport Cheering) as a

nonprofit 501(c)(3) organization. USA Cheer serves All-Star and School Cheer programs. Its

objectives are to, “help grow and develop interest and participation in cheer throughout the

United States; promote safety and safety education for cheer in the United States; and represent

the United States of America in international Cheer Competitions.” In 2018, Varsity transferred

trademark rights to AACCA and brought it under USA Cheer’s umbrella.

       145.      By installing itself in the leadership of these and other rule-making organizations,

Varsity has been able to exercise control over the Competitive Cheer industry and enhance and

maintain its monopoly power in the Relevant Markets.




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        146.    For example, in 2011, USASF issued a letter to all its 1,200 members informing

them that they are not to attend any non-Varsity competition that purports to be a

“World/International” or “Worlds” competition except those that are run by ICU or sponsored by

Varsity. ICU then issued letters to all of their 101-member federation banning them from entering

International Federation of Cheer (“IFC”) competitions.

        B.      Varsity Engaged in a Scheme to Exclude Rivals and Acquire, Enhance, and
                Maintain Monopoly Power in the Relevant Markets.

        147.    Over the past 15 years, Varsity, under the leadership of Jeﬀ Webb, Charlesbank,

Bain Capital, in combination with USASF and other rule-making organizations it controls, has

acquired, enhanced, and maintained monopoly power in the Competitive Cheer Market (the

“primary market”) and the Cheer Apparel Market and Cheer Camp Market (the “related

markets”), (collectively with the primary market, the “Relevant Markets”) in the United States

through an unlawful scheme (the “Scheme,” the “Exclusionary Scheme,” or the “Challenged

Conduct”) set forth below.

        148.    Jeﬀ Webb is the founder of Varsity and has been actively involved in decisions to

acquire rival event producers, apparel manufacturers, and camp providers. Webb was an early

investor in cheer governing bodies and played an integral role in setting the policies for

cheerleading. Webb has always presented himself as the face of Varsity Brands.

        149.    Charlesbank and Charlesbank Funds VII and VIII acquired Varsity in 2014 for

approximately $1.5 billion, and with that acquisition and funding, Charlesbank and Charlesbank

Funds VII and VIII entrenched and acquired Varsity’s monopoly power. After the acquisition,

Charlesbank and Charlesbank Funds VII and VIII conspired with Varsity and Webb to

consolidate Varsity’s market power by acquiring its biggest rivals, acting in furtherance of the

Exclusionary Scheme. Charlesbank and the Charlesbank Funds controlled Varsity through their

control of its board of directors.




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                              As a consequence, Charlesbank and Charlesbank Funds VII and

VIII obtained financial rewards and benefits                                   , when they sold

Varsity to the Bain Defendants for $2.9 billion in 2018.




       150.    Bain and the Bain Funds acquired Varsity in 2018. Bain and the Bain Funds were

and are actively involved in the alleged anticompetitive scheme. Bain and the Bain Funds

controlled Varsity through control of its board of directors.




                                            . In conspiring with Varsity and Jeﬀ Webb, Bain and

the Bain Funds have helped Varsity maintain and enhance its monopoly and ensured that it

continues. Bain has obtained financial rewards and benefits from its involvement in the

exclusionary scheme.

               1.      Elements of Varsity’s Exclusionary Scheme

                       a.      Varsity and USASF Created a System of Bids for Admission to
                               National Tournaments as a Means to Funnel Athletes to Its
                               Local and Regional Tournaments.
       151.    To compete in one of Varsity’s major Cheer Competitions, teams must receive a

Bid, the vast majority of which can only be awarded by a competition that is owned or controlled

by Varsity.   e end-of-season competitions are not just the pinnacle of Competitive Cheer: they

are also huge cheer festivals typically held at attractive locations such as Walt Disney World.

Competitive Cheer Teams aspire to attend one of Varsity’s most popular competitions and, as

part of the Scheme, are encouraged to choose Varsity Competitions over those of Varsity’s rivals

to improve their chance of getting a Bid.    is creates a significant barrier to entry for rival

promoters or new promoters trying to enter the industry.



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       152.       e monopoly that Varsity has obtained in competitions, provides the company

the power and leverage to ensure that new and returning families are paying supracompetitive

prices to Varsity in other related markets as well, thus damaging the indirect purchaser class.

       153.    In 2004, Varsity introduced the Bid system, through Varsity-controlled USASF. In

2004, USASF hosted the “Worlds” for the first time. At the time, Varsity and USASF agreed that

USASF would provide fully paid trips for certain gyms to attend as a method of securing USASF

authority and dominance of the Varsity-promoted events.

       154.    Under the rules agreed to by Varsity and USASF, Cheer teams must receive a

Varsity Bid in order to attend most of Varsity or USASF’s Championship competitions.        us,

securing Bids to one of these Varsity-promoted championships and a chance to vie for a

“National” title is a primary goal of Competitive Cheer Teams. Teams earn these Bids by

attending and succeeding at Varsity owned and operated competitions.

       155.    Bids can be fully paid which, as the name implies, means the Competition

producer pays the Team’s entry fees and all travel and hotel costs. Bids can also be partially paid,

which means the Cheer Competition producer pays only a partial amount—typically covering

entry fees but not travel or hotel costs. Bids can also be “at-large,” which means the team can

compete but must pay its own way. Varsity provides local event producers and promoters with

the rights to determine how those Bids are awarded. Typically, fully paid are awarded to first

place winners of major USASF-sanctioned Cheer Competitions, and partially paid and at-large

Bids are awarded to other prominent teams, even if they did not “win” local or regional

tournaments.

       156.    With respect to World Championships, Varsity and USASF agreed on how

participants can gain entry to the tournament to restrict competition and to exclude rivals. Varsity

and USASF severely restrict competition in the Cheer Competition Market by limiting the

number of Cheer Competitions entitled to provide Bids to Worlds. Of the 42 events providing

Bids to the World Championships, Varsity owns 33. USASF also allocates the number of Bids




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that each of those 42 Cheer Competitions may award.      rough its control of USASF, Varsity

event participants receive the vast majority. Varsity controls 80% of Worlds’ Bids.

       157.    Similarly, Varsity decides which Cheer Competitions may award Bids to           e

Summit and the U.S. Finals, other important tournaments. Varsity uses its market dominance to

restrict competition and to exclude rivals by allocating 100% of   e Summit and U.S. Finals

Bids to the Cheer Competitions it owns and operates. Varsity holds     e Summit a week after       e

Worlds at Walt Disney World Florida in order to give them the prestige of     e Worlds.    e

Summit is a vehicle to entice parents and gyms to attend Varsity Cheer Competitions in order to

have an end of the year championship.

       158.    USA Cheer and NFHS govern High School cheer and USA Cheer and the

AACCA govern College cheer. Each are controlled by Varsity. Varsity’s UCA and NCA hold

high school and college championships. Varsity decides which high school and college

competitions award Bids to the NCA and UCA National Championships. Where Bids are not a

requirement, attendance at Varsity Cheer Camps is. Varsity leverages its market dominance in the

School Cheer Competition Market to enhance and maintain its market power in the Cheer Camp

Market.

       159.    Varsity uses its dominance of the Cheer Competition Market, its control of

USASF, and its control of Bids to national championships and other tournaments, combined with

the other conduct that is part of the Scheme, to ensure that Competitive Cheer teams will attend

Varsity’s entry-level Cheer Competitions rather than those owned and produced by Varsity’s

competitors.

               2.     Varsity and USASF Created Competition Rules            at Deny Potential
                      Competitors a Foothold in the Industry.

       160.    As set forth above, for more than fifteen years, Varsity has pursued acquisition of

its actual or would-be competitors and created or gained control of the rule-making

organizations. See §§ VII.B.2 & 4, supra. Varsity has exploited and continues to exploit its

control of the Cheer Competition Market to exclude competitors from the market.




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       161.    For example, in 2008, Varsity adopted rules that prohibited participants in its

events from participating in events promoted by other rival promoters. Varsity prohibited Cheer

teams that competed in Varsity’s NDA/NCA College Championships from participating in any

other event promoted as a cheer or dance “national championship.”      is ban had the purpose and

eﬀect of impairing rival promoters’ ability to compete with Varsity.

       162.    In 2010, Varsity Brands prohibited college-level participants from entering into

events following the format of the National Collegiate Acrobatic & Tumbling Association

(NCATA). Varsity forbade such participants from attending and competing at Varsity-owned or

Varsity-sponsored events, like national tournaments, thereby thwarting any potential competitive

threat from NCATA.

       163.    In 2013, Varsity created The Summit to provide a national championship for

lower level teams. Only teams that compete at Varsity Cheer Competitions can qualify for The

Summit championships, creating another barrier to entry for other promoters whose competitions

cannot qualify a team for The Summit.

       164.    Varsity requires All-Star Gyms to be members of the USASF in order to compete

in USASF-sponsored Cheer Competitions.        is accreditation carries with it a requirement that

the All-Star Gyms report all events they attend to USASF. Varsity and USASF representatives

then pressure the All-Star Gyms to go only to USASF-sanctioned events, 42% of which are

produced by Varsity.

       165.      e access of any IEP to All-Star Gyms is further restricted by the USASF-

preferred insurer, K&K, which charges All-Star Gyms thousands of dollars in insurance

premiums if All-Star Gyms attend non-USASF events. In addition, K&K requires covered All-

Star Gyms to be USASF members.        e rates for USASF member All-Star Gyms are between $19

and $24.55 per Cheer Athlete, but they increase to $34 per Cheer Athlete if the All-Star Gym

enters its Competitive Cheer Team in even a single competition that is not sanctioned by USASF.

       166.    Further, the USASF will not permit a Cheer Competition producer to hold a Bid-

qualifying Cheer Competition within 500 miles of another Bid-qualifying competition.        is



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makes it diﬃcult—if not impossible—for an IEP to expand and compete further with Varsity.           e

ultimate result is that the only way for a Cheer Competition producer to gain additional Bids to

Worlds would be to acquire an existing Cheer Competition producer that controls such Bids.

Since Varsity’s acquisition of Epic Brands in January 2018, there are few producers left outside

of Varsity’s ownership or control.

        167.    All Varsity-sponsored events are USASF-sanctioned. To enter Competitive Cheer

Teams in USASF-sanctioned events, All-Star Gyms, All-Star Cheer Athletes, and Competitive

Cheer Team coaches must become USASF members and pay annual membership dues to

USASF.      ese membership dues are USASF’s primary outside revenue source. For example,

USASF collected over $5 million in membership dues in 2017.

        168.    USASF also copyrighted its Cheer Competition rules in 2016, which forbids

Cheer Competition producers that have not paid USASF membership dues from using those

rules at their events. Since Varsity’s dominance in the Cheer Competition Market ensures that all

or almost all Competitive Cheer Teams fill the majority of their schedules with USASF-

sanctioned events, USASF’s refusal to allow non-USASF IEPs to use the same rules provides a

strong disincentive for Competitive Cheer Teams to include such IEPs in their schedules. Doing

so would require Competitive Cheer Teams to learn and compete by a diﬀerent set of rules for a

small share of their yearly competitions. USASF aggressively enforces these limitations through

the threat of intellectual property litigation.

        169.    Varsity also takes steps to prevent rival sanctioning organizations from creating

non-Varsity-controlled Competitive Cheer Championships that could undermine Varsity’s

dominance. For example, in October 2011, the USASF and IASF wrote a joint letter to member

All-Star Gyms, Cheer Competitions, and Competitive Cheer Team coaches stating that it is “the

policy of the USASF/IASF that no athlete, coach, judge, or oﬃcial is permitted to participate in

any way in any event that claims to be a World or International Championship, other than the

ICU [International Cheer Union] World Championships for National teams, or the USASF/IASF

Worlds for Competitive Cheer Teams.         is stipulation applies to any regional international



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championship aﬃliated with an organization claiming to operate a World Championship, other

than the ICU and USASF/IASF. Failure to comply with this rule is grounds for disqualifying any

athlete, coach, judge, or oﬃcial from participating in the ICU and USASF/IASF World

Championships.”

       170.    USASF membership rules specify that members are not permitted to aﬃliate,

partner with, or own non-USASF-sanctioned IEPs, and that every All-Star Gym that wishes to

attend USASF events must become a USASF member.           us, all All-Star Gyms that attend at

least one USASF event per year agree to these exclusionary terms.

               3.     Varsity Uses Exclusive Agreements with All-Star Gyms and Schools to
                      Foreclose Access to the Relevant Markets.

       171.    Varsity also provides financial incentives designed to further enhance and secure

its monopoly power and to exclude potential competitors and rivals.     ese take the form of

rebates or free services to All-Star Gyms and cash-strapped schools to encourage their

participation. In exchange for these inducements, All-Star Gyms and schools sign exclusionary

agreements under which they agree to attend Varsity competitions and purchase Varsity Cheer

Apparel.   ough the cost of the rebates and services is low from Varsity’s perspective, they have

an asymmetric eﬀect on the budgets of gyms and schools, providing a crucial influx of cash that

gyms rely on to survive slow periods, or valuable improvements for cash-strapped schools,

creating a strong inducement to steer their business—and parents’ money—to Varsity.       us,

Varsity and its co-conspirators reap hundreds of millions of dollars each year from the parents

and others bearing the economic cost of participation by Competitive Cheer Athletes.

       172.    Varsity oﬀers rebates to All-Star Gyms that sign agreements under which the All-

Star Gyms agree to attend a certain number of Varsity Cheer Competitions and purchase Varsity

Cheer Apparel. Varsity induces larger and more prestigious All-Star Gyms, whose attendance is

critical to putting on successful All-Star Events and who provide a key distribution channel for

Cheer Apparel, to sign Network Agreements, under which All-Star Gyms are required to commit

to essentially exclusive attendance at Cheer Competitions and purchase of Cheer Apparel, and




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attendance at Cheer Camps. In return for this commitment, the All-Star Gyms receive rebates

from Varsity. Varsity encourages All-Star Gyms to participate in Varsity produced events through

its rebate program.   e more Varsity Competitions an All-Star Gym attends, and the more Varsity

Cheer Apparel an All-Star Gym purchases, the larger the rebate to that All-Star Gym.

       173.    Network Agreements require All-Star Gyms to have their Competitive Cheer

Teams attend at least five Varsity-produced Cheer Competitions per season and spend at least

$30,000 on registration fees for Varsity events. Moreover, Varsity’s Network Agreements provide

increasing rebate percentages for All-Star Gyms that spend above $30,000 per year on Varsity

registration fees. Given that All-Star Gyms often attend only six Cheer Competitions per season,

Varsity’s contractual requirements make it extremely diﬃcult, if not impossible, for these All-

Star Gyms to attend IEPs’ All-Star events, and thus eﬀectively require exclusive dealing.

       174.      e Network Agreement also provides additional relief from the non-Network

penalty registration fees it charges for every dollar an All-Star Gym spends on Varsity Cheer

Competition registration fees over and above the required $30,000 minimum.       us, once an All-

Star Gym has spent the required threshold amount, it becomes economically and practically

infeasible for such All-Star Gyms to attend non-Varsity events. Further, the Network Agreements

explicitly require the largest and most prominent All-Star Gyms to purchase and use Varsity

Cheer Apparel exclusively, foreclosing a key distribution channel and critical group of customers

from being accessed by Cheer Apparel rivals.

       175.    Because the Network Agreement is oﬀered to the largest and most successful All-

Star Gyms, the All-Star Gyms with the most talented All-Star Cheer Athletes are guaranteed to

attend Varsity Cheer Competitions and wear Varsity Cheer Apparel.      is, in turn, draws the

smaller All-Star Gyms into attending Varsity Cheer Competitions and wearing Varsity Cheer

Apparel.

       176.    For All-Star Gyms that are not induced to execute Network Agreements, Varsity

oﬀers terms under its “Family Plan.”    e Family Plan is oﬀered to every All-Star Gym in the




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country, meaning that Varsity has the potential to engage 100% of the All-Star Gyms in the

Market in its exclusionary programs.

         177.     e Family Plan requires that an All-Star Gym attend a certain number of Varsity

Cheer Competitions in one year in order to obtain a small amount of relief from Varsity’s penalty

pricing on Cheer Apparel and Cheer Competitions. Under the Family Plan, All-Star Gyms must

go to at least six Varsity events per year. Because Competitive Cheer Teams often attend only six

Cheer Competitions in a season (excluding      e Summit and U.S. Finals), All-Star Gyms must

devote all or the vast majority of their Cheer Competition season on Varsity events to obtain

relief from Varsity’s penalty pricing.   e amounts All-Star Gyms must spend to obtain a

particular percentage of monetary relief from Varsity’s penalty pricing has increased over the

years.

         178.     e Family Plan rebates typically involve providing rebates referred to as “Varsity

Fashion Dollars.”     ese Varsity Fashion Dollars may only be used on future purchases from

Varsity. As a result, the All-Star Gyms are trapped in an endless cycle with Varsity, as foregoing

these future rebates and doing business with Varsity’s competitors becomes prohibitively

expensive the more they patronize Varsity events and purchase Varsity Cheer Apparel.

         179.   Varsity’s rebates to All-Star Gyms provide substantial financial incentives to the

All-Star Gyms to steer their teams to attend Varsity Cheer Competitions and purchase Varsity

Cheer Apparel.      e amount of rebates derives from how many Varsity Cheer Competitions the

All-Star Gyms enter, how many Varsity Cheer Camps they attend, and how much Varsity Cheer

Apparel they purchase; Varsity will pay the All-Star Gyms cash rebates, which start in the

thousands and can go into the hundreds of thousands of dollars a year for large All-Star Gyms.

  e All-Star Gyms rely on the rebate money to hold them over during slow periods, providing a

strong incentive to the All-Star Gyms to participate in as many Varsity events as possible for

their teams.




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       180.         e parents whose fees indirectly pay Varsity’s competition registration fees and

purchase Varsity Cheer Apparel do not receive the benefit of rebate payments Varsity provides to

the All-Star Gyms.

       181.    Varsity also oﬀers inducements to schools to sign exclusive agreements with

Varsity.   rough its Impact and VIP Branding programs, Varsity oﬀers schools branding

opportunities under which Varsity helps the schools develops a sports identity by “bring[ing]

professional design and products to school campuses,” creating a sports identity and logo for the

schools and supplying wall murals, window branding, mascot costumes, banners, flags, and signs

displaying the school’s identity and logo. In exchange for these payments, schools sign VIP

Agreements under which the schools agree to purchase their uniforms, apparel, and equipment

from Varsity and to compete in Varsity Cheer Competitions. Parents who pay for their children to

compete on Competitive School Cheer teams end up paying Varsity’s supracompetitive

monopoly prices.

       182.         rough these inducements, Varsity imposes exclusive dealing arrangements on

both the primary Cheer Competition Market and the related Cheer Apparel Market, foreclosing

competition from other competition producers and apparel manufacturers.

               4.        Varsity Forecloses Access to the Cheer Apparel Market.

       183.    Varsity prohibits other Cheer Apparel manufacturers from displaying their

products at Varsity’s events, denying would-be rivals a major marketing opportunity with

their target customers. All-Star Cheer Competitions are, in part, market-dominant trade

shows, and Varsity forbids or severely restricts its Cheer Apparel rivals from displaying

wares in those events’ “showrooms.” By denying rivals access to its market-dominant

competitions, Varsity is leveraging its monopoly power in the Cheer Competition Market

to vertically foreclose rivals in the Cheer Apparel Market. For example, rival Cheer

Apparel manufacturer Rebel had previously displayed and sold Cheer Apparel at JAM

Brands’ events. Its contract with     e JAM Brands was terminated when Varsity acquired




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  e JAM Brands, and Varsity excluded Rebel from all subsequent JAM Brands events.

As one article observed, quoting Rebel’s founder:

                  e JAM Brands competitions had been Rebel’s most eﬀective
               platform for marketing to elite cheer teams. ‘Not partnering with an
               event company is one thing,’ says Noseﬀ Aldridge [founder of Rebel
               Athletic]. ‘But being locked out of partnering with an event
               company—knowing that a competitor is now going to be in your
               booth space showing its product—it’s a double whammy.’


       184.    Further, as mentioned above, certain Varsity contracts and terms with All-Star

Gyms combine rebates for attending Varsity Cheer Competitions with agreements requiring All-

Star Gyms to purchase their Cheer Apparel exclusively from Varsity.     us, All-Star Gyms bound

by the Network Agreement cannot access non-penalty prices for Cheer Competitions unless they

also agree to exclusively buy their Cheer Apparel from Varsity.

       185.    Judges at Varsity Cheer Competitions have been known to award more points to

Competitive Cheer Teams wearing Varsity Cheer Apparel, and the rules governing USASF and

Varsity Cheer Competitions regarding Cheer Apparel are frequently written to favor Varsity’s

latest Cheer Apparel designs.    ese practices make the wearing of Varsity Cheer Apparel an

important element for success at Cheer Competitions, further impairing the ability of rival Cheer

Apparel manufacturers from gaining significant sales.

               5.      Varsity Leverages Its Monopoly Power in the Cheer Competition
                       Market to Foreclose Competition in the Cheer Camp Market.

       186.    Varsity has leveraged and continues to leverage its monopoly power in the market

for Cheer Competitions to acquire, enhance, and maintain monopoly power in the market for

Cheer Camps. All-Star Gyms and schools decide which camps the teams are going to attend.

Varsity oﬀers these programs rebates if they choose Varsity V!ROC choreography camps.         e

more teams and athletes that an All-Star Gym sends to Varsity V!ROC camps, the larger the

rebate. V!ROC oﬀers choreography training for both All-Star and Gameday (which incorporates

elements of traditional sideline cheer).




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       187.    Attending V!ROC camps gives teams an edge over other teams because the

V!ROC choreographers are knowledgeable about Varsity’s competitions and rules and can and

do train teams to gear their routines to score points with Varsity Cheer Competition judges. Non-

Varsity camps cannot oﬀer the same advantages, so they cannot compete with Varsity’s camps.

By exercising this competitive advantage, Varsity creates a barrier to entry for rival cheer camp

producers.

       188.    Another way Varsity leverages its monopoly power in the Cheer Competition

Market is to require Competitive Cheer Athletes to attend Varsity Cheer Camps as a mandatory

prerequisite to competing in some Varsity Cheer Competitions. Indeed, many Varsity Cheer

Competitions—including the NCA High School National Championship and the UCA National

High School Cheerleading Championship, in which a combined total of 45,000 athletes

participate, as well as the USA Championships—require 75% of a team’s athletes to attend a

Varsity Cheer Camp during the preceding summer or fall as a mandatory prerequisite to the team

registering for the event. UCA and NCA Cheer Camps are designed for skilled cheerleading

squads that operate at a competitive level. Students can attend either day or overnight Cheer

Camps that run up to four days, with skill training lasting from morning to night.

       189.    Varsity also provides Bids to some of its national competitions at its Cheer

Camps, creating another strong incentive for teams to attend Varsity Cheer Camps, and a barrier

to entry for other cheer camp producers, who cannot oﬀer Bids to Varsity’s premier events.

               6.      Varsity Counter-Programmed Rivals’ Competitions.

       190.    In order to compete at the “Worlds,” a team must compete at a qualifying event.

  e USASF set the number of event producers that can hold Worlds qualifying events at 42. For

an event producer, the ability to hold a Worlds qualifying event is very prestigious and profitable.

A Worlds event producer can bring in over $300,000 in registration fees, spectator admission

fees, and merchandise sold at the event.




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       191.    According to USASF bylaws, a qualifying event must have 125 teams competing.

If an event does not attract 125 teams, it is put on probation. If it fails to reach 125 teams a

second time, that event will no longer be a Worlds Bid qualifying event.

       192.    Plaintiﬀs are informed and believe that, to impair its potential rivals, Varsity

would hold non-Worlds qualifying events in the same geographic area at the same time as an

established Tier 1 independent Bid qualifying event, in contravention of USASF rules. Varsity’s

event would draw teams away from the IEP event, causing them to fail to attract the requisite

125 teams.    is would cause the IEP to take in less money from the event, and eventually lose

the privilege of hosting such events. An IEP thus deprived of revenue streams would be less

likely to threaten Varsity’s market position, and would likely become an acquisition target for

Varsity.

       193.    Plaintiﬀs contend that Varsity’s actions violated, and continue to violate, federal

and state antitrust laws and state consumer protection laws, including Sections 1 and 2 of the

Sherman Act, and Tenn. Code Ann. §§ 47-25-101, et seq., and that they and the members of the

proposed Classes were injured and continue to be injured by paying artificially inflated prices

indirectly to Varsity for Varsity Cheer Competitions, Varsity Cheer Apparel, Varsity Cheer

Camps, and other charges. Plaintiﬀs seek equitable relief to stop Defendants’ continuing

anticompetitive conduct and to recover money damages for injuries in the form of artificially

inflated prices Plaintiﬀs indirectly paid to Varsity, incurred as a result of Defendants’

anticompetitive conduct alleged herein.

       194.    Varsity can charge artificially inflated prices for all of these products and services

because it has unlawfully acquired monopolies in the markets for Cheer Competitions, Cheer

Apparel, and Cheer Camps. Taken together, these inflated prices add up to millions of dollars in

unlawful overcharges indirectly paid to Varsity by the families of athletes that participate in

Competitive Cheer.




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          C.     Varsity’s Monopoly Power in the Relevant Markets

                 1.        Monopoly Power in the Cheer Competition Market (the Primary
                           Market)

                           a.           e Relevant Cheer Competition Market

          195.        e Cheer Competition Market is a single, nation-wide market. Varsity

competitions host All-Star and School Cheer Teams, frequently in the same competitions. At all

times relevant to this litigation, Varsity has held monopoly power in the Cheer Competition

Market. Varsity is the primary supplier in the All-Star Cheer Competition Market.

          196.   All-Star Gyms and schools serve as the gateways through which athletes and their
families gain access to the sport of Competitive Cheer, and Varsity gains access to the athletes

and their families. Families pay fees to the gyms and schools which are used to indirectly pay

registration fees for USASF and for Varsity Cheer Competitions, as well as Varsity Cheer

Apparel and Varsity Cheer Camps.

          197.        us, parents indirectly pay the costs of registration in Varsity’s All-Star Cheer

Competitions.

                                   i.         ere Are No Substitutes for Competitive Cheer.
          198.   Varsity Cheer Competitions lack close economic substitutes that could constrain

their pricing, for, e.g., entry fees and other associated costs, USASF registration, to competitive

levels.

          199.   Competitive Cheer Athletes train vigorously for Cheer Competitions that

showcase their unique combination of talents, which draw from cheerleading, dance, and

gymnastic routines. Competitive Cheer Athletes would not redeploy their talents to competitive
gymnastics, dance, or any other sport or pastime, in response to a small but significant non-

transitory increase in the price of attending Cheer Competitions.         us, a hypothetical monopoly

seller or producer of Cheer Competitions would not need to control gymnastics, dance events, or

other pastimes, to raise the registration fees and other associated costs for attending Cheer

Competitions profitably above competitive levels.




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       200.    Traditional sideline cheerleading is not a functional or economic substitute for

Cheer Competitions. Sideline cheerleaders play a secondary role, supporting a local school’s

sports team and keeping the crowd excited. In contrast, Cheer Competitions are contests between

Cheer Teams: Cheer Teams themselves are the athletes, and their routines are the main event.

Traditional sideline cheer typically does not involve the stunts, pyramids, and gymnastics

Competitive Cheer incorporates.

       201.    Gymnastic competitions are not functional or economic substitutes for Cheer

Competitions, which involve multiple athletes performing synchronized movements in a

confined area that limits the types of movements that can be performed by participants, requiring

an emphasis on diﬀerent skills than gymnastics. In addition, Competitive Cheer Teams consist of

various body types and have diﬀerent positions that require diﬀerent skill sets, such as the base,

the flyer, the spotter, and the tumbler. Most athletes will be taller than the average gymnast—

providing opportunities to compete for individuals who do not possess classic gymnast bodies.

       202.    College-level competitive dance and acrobatic events, such as Varsity-backed

STUNT and NCATA-backed Acrobatics & Tumbling, are not functional or economic substitutes

for Cheer Competitions. By seeking to create NCAA-sanctioned sports, Varsity and the National

Collegiate Acrobatics and Tumbling Association (“NCATA”) have identified such college-level

competitive dance and acrobatic events as complements to Cheer Competitions rather than

substitutes. As one USA Cheer publication explained, “STUNT should grow the total number of

young people participating in all forms of Cheer…once STUNT is fully adopted as an NCAA

sport, the number of collegiate scholarships available to Cheer athletes should increase more than

tenfold.   is will potentially create huge interest in skill development and competitive

experience, and All-Star Gyms have a tremendous opportunity to provide these services.” In

addition, unlike Competitive Cheer, STUNT and Acrobatics & Tumbling only involve female

athletes as they are both “Emerging Sports” seeking full protection under Title IX.




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                       b.        e Relevant Geographic Market
       203.       e relevant geographic market is the United States. Competitive Cheer Teams

compete nationwide to receive Bids to attend Competitive Cheer Championships. Of course,

there is a regional aspect to competitions: teams emphasize attendance to competitions that

maximize their chances of winning Bids to the end-of-season events. From Varsity’s perspective,

however, these events are administered at a national level, the governing bodies are the same

across the country, events are subject to the same set of rules and the allocation of bids responds

to a centralized system. It is Varsity’s monopoly power that has allowed it to “nationalize” what

otherwise may have been more regional competitions or qualifying events.
       204.    International Cheer Competitions are not functional or economic substitutes for

U.S. Cheer Competitions. Although there is an international division in USASF that can produce

Bids to Worlds, U.S. All-Star Gyms and schools do not regularly send teams to Cheer

Competitions abroad, in part due to the expense of international travel. International Cheer

Competitions are also subject to diﬀerent rules than U.S. competitions, making United States

Competitive Cheer Athletes far less likely to attend them.

       205.    A small but significant and non-transitory increase in the price of participating in

U.S. Cheer Competitions would not cause participants to seek out international competitions.

                       c.     Varsity Has Monopoly Power as a Dominant Supplier in the
                              Cheer Competition Market.

       206.    Varsity has, at all relevant times, possessed monopoly power in the market for the

production of Cheer Competitions. Varsity owns, produces, and promotes the vast majority of

Cheer Competitions in the United States.

       207.    Varsity has maintained and enhanced its monopoly power in the market for the

production of Cheer Competitions through the anticompetitive conduct alleged herein. Varsity

possesses the ability to control, maintain, and increase prices associated with the production of

Cheer Competitions above competitive levels and the ability to impair and exclude competitors

from producing Cheer Competitions. Varsity has elevated prices charged for registering for and




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attending Varsity Cheer Competitions substantially above competitive levels, and restricted

output in the Cheer Competition Market, during the Class Period. Varsity has the ability to

foreclose, and has in fact foreclosed, actual and would-be rivals from competing in the market

for producing Cheer Competitions.

       208.    Varsity’s monopoly in Cheer Competitions has allowed it to impose exclusionary

contracts and vertically foreclose competition in other related, but separate markets. Varsity

knows that schools and All-Star Gyms are a crucial funnel through which they can access new

and returning athletes to force families into all of their profit-making streams.

                       d.      Barriers to Entry

       209.       e Cheer Competition Market has high barriers to entry that were reinforced and

bolstered by the Exclusionary Scheme as alleged herein.

                               i.      Natural Barriers to Entry
       210.    A Cheer Competition event producer must have access to capital in order to rent

venues, perform adequate marketing, and pay employees, travel costs, and the variety of other

expenses associated with the Cheer Competition business.

       211.    A Cheer Competition producer must also have access to a critical mass of

Competitive Cheer teams, as Competitive Cheer Athletes desire the challenge and recognition

that comes with competing against the best in the sport.

       212.    Cheer Competition producers must also have access to credible judges, in order to

hold their competitions, advertising, and in order to carry out all of its other functions.

                               ii.     Barriers Created by the Exclusionary Scheme

       213.    As alleged herein, Varsity has used the Exclusionary Scheme to erect

insurmountable barriers to entry which, together with the natural barriers, insulate Varsity from

competition. To enter the Cheer Competition Market, event producers must have access to the

uniform set of rules used by other competitions in the league, as no Competitive Cheer Team

wants to learn a new set of rules to compete in just one competition. However, USASF refuses




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non-member Independent Event Producers (“IEPs”), Varsity’s competitors, from having access

to its rules, claiming as a pretext that the rules are subject to trademark and copyright protections.

       214.    To be viable in the Cheer Competition Market, event producers must also be able

to oﬀer Bids to the Cheer Championships. However, USASF and Varsity have conspired to limit

the number of Cheer Competitions that can award these Bids. Varsity owns and controls 33 of

the 42 Cheer Competitions that can award Bids to Worlds and all of the Cheer Competitions that

can award Bids to     e Summit and U.S. Finals. And it oﬀers Bids to its national School

Competitions at its Cheer Camps. As a result, a new competitor in the Cheer Competition Market

is unlikely to be able to oﬀer Bids and will immediately be rendered competitively irrelevant.

       215.    IEP access to All-Star Gyms is further limited by Varsity’s Network Agreements

and Family Plan Agreements. Varsity uses rebates to induce All-Star Gyms to sign exclusive

Network or Family Plan agreements that commit the All-Star Gyms teams to attending a

minimum number of Varsity Cheer Competitions and to purchasing their Cheer Apparel from

Varsity. All-Star Gyms that fail to register for the minimum number of Varsity Cheer

Competitions pay penalty prices on Varsity Cheer Competitions and Cheer Apparel.

       216.    Similarly, IEP access to schools is limited by Varsity’s Impact and VIP Branding

programs, which provide free murals and signage to schools in exchange for an agreement to

attend a minimum number of Varsity Cheer Competitions and purchase Varsity Cheer Apparel.

Varsity’s New School Construction program goes even further, providing professional design

guidance to schools to design school facilities from the ground up, and providing equipment

including bleachers, weight equipment, and scoreboards, in exchange for the schools’

commitment to Varsity Cheer Competitions and Varsity Cheer Apparel.

               2.      Monopoly Power in the Cheer Apparel Market (Related Market)

                       a.         e Relevant Cheer Apparel Market

       217.    Competitive Cheer Athletes are required to wear specialized apparel and use

specialized equipment in order to compete in Cheer Competitions. USASF rules govern every




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detail of this apparel, including minutia, such as what direction hair bows must face and how

large those bows can be.

        218.     Competitive Cheer Athletes also require specialized apparel and equipment for

practice, and All-Star Gyms require specialized apparel and equipment for membership on their

Competitive Cheer Teams.

        219.        ere is a relevant Cheer Apparel Market that is restricted to specialized clothing

such as uniforms, warm-up outfits, team jerseys and practice gear; and specialized accessories

such as hair bows and headbands; and specialized equipment such as backpacks and shoes.

Because Varsity Cheer Competitions require that participants dress and accessorize in accordance

with USASF rules, Competitive Cheer Athletes could not shift to more generic athletic apparel in

response to a small but significant and non-transitory increase in the price of Cheer Apparel.

  us, a hypothetical monopoly supplier of Cheer Apparel would not need to control any

suppliers of non-Cheer Apparel in order to increase the price of Cheer Apparel substantially

above competitive levels profitably.

        220.     Moreover, All-Star Gyms and schools serve as the gateway to Competitive Cheer

for athletes and their families. Because Varsity induces All-Star Gyms and schools to sign

exclusive agreements with Varsity through the use of back-end rebates and free improvements to

school facilities, the payments that families of Competitive Cheer Athletes make to the All-Star

Gyms and schools to purchase Cheer Apparel are steered to Varsity. IEPs cannot break through

this artificial barrier to entry.

                         b.         e Relevant Geographic Market

        221.        e relevant geographic market is the United States. All performances in the

primary market occur within the United States and are regulated by standards set in the United

States by regulatory organizations that are controlled by Varsity, including the USASF, USA

CHEER, the American Association of Cheerleading Coaches and Administrators, and the

National Federation of State High School Associations. As such, nearly all of the targeted




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customers for Cheer Apparel reside in the United States. Apparel is also sold online, thus

emphasizing this market as a nation-wide one, since no location depends exclusively on having a

brick and mortar store to purchase apparel.

                       c.       Varsity Has Monopoly Power with Respect to Sales of Cheer
                                Apparel.

       222.    Varsity has, at all relevant times, possessed monopoly power in the market for

Cheer Apparel. Varsity has maintained and enhanced, and continues to maintain and enhance, its

monopoly power in this market through the Challenged Conduct (as alleged herein). Varsity

possesses the ability to control, maintain, and increase prices in the Cheer Apparel Market above

competitive levels profitably, and the ability to impair and exclude competitors from this

Relevant Market. Varsity has, in fact, inflated prices of its Cheer Apparel above competitive

levels during the Class Period. Varsity has the ability to foreclose, and has in fact foreclosed,

would-be rivals from the Cheer Apparel Market.

       223.    Varsity has assembled at least 200 copyrights on uniform design, which create a

barrier to entry by subjecting potential entrants in the Cheer Apparel Market to the threat of

copyright lawsuits. Varsity aggressively enforces its copyrights against actual and potential rivals

through trademark litigation.
       224.    Varsity has gained and maintained at least an 80% share of the Cheer Apparel

Market through acquisitions, exclusive dealing arrangements, and other anticompetitive and

exclusionary conduct that is part of the Exclusionary Scheme alleged herein.

                       d.       Barriers to Entry

       225.       ere are a number of barriers to entry into the Cheer Apparel Market, including

many barriers imposed and reinforced as part of the Exclusionary Scheme.

                                i.     Natural Barriers to Entry
       226.    Apparel-manufacturing and marketing facilities require significant investments of

capital to design and manufacture shoes, clothing, and accessories. Additionally, retail companies




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need significant investments in warehouses, inventory management and distribution chains to

serve demand.

       227.     Designs for the Cheer Apparel are specific to that market and require specially-

trained designers to create and specialty equipment to manufacture.

       228.     Intellectual property provides another barrier. Any designer of Cheer Apparel

must take care not to infringe the designs of any competitors who hold copyrights or trademarks,

or else risk litigation. Varsity has assembled almost 200 copyrights protecting its designs and

aggressively enforces those rights against actual and potential rivals.

                               ii.      Barriers to Entry Imposed         rough the Exclusionary
                                        Scheme
       229.     Cheer Apparel manufacturers must have a venue to showcase and sell their

apparel. In the Cheer Apparel Market, the main and critical venue is Cheer Competitions.

However, Varsity denies its actual and potential competitors access to the showrooms at its

market-dominant Cheer Competitions, depriving them of this necessary distribution venue.

       230.     Cheer Apparel manufacturers must also have the ability to sell apparel that

complies with Cheer Competition rules (the primary venue for such apparel). However, the

USASF tailors its rules to allow the type of apparel Varsity manufactures and sells, to the

exclusion of competitors’ apparel. Further, USASF judges have awarded extra points to

Competitive Cheer Teams wearing Varsity Cheer Apparel, thus discouraging them from wearing

the apparel of Varsity’s competitors.

       231.     Varsity’s Exclusionary Scheme includes restrictive contracts with All-Star Gyms

and schools that require such gyms and schools to exclusively purchase Cheer Apparel from

Varsity, foreclosing access by apparel rivals to these important customers and their Competitive

Cheer Team members—who comprise a significant share of market sales. Varsity also provides

terms for all other All-Star Gyms that make it economically unfeasible for most of them to

purchase Cheer Apparel from potential rivals (for instance, Rebel).




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               3.       Monopoly Power in the Cheer Camp Market (Related Market)

                        a.          e Relevant Cheer Camp Market
       232.         e Cheer Camp Market includes All-Star and School Cheer Camps.        rough

acquisitions and design Varsity controls the Cheer Camp Market. Cheer Camp is instrumental for

teams if it they want to compete at the championship level. At Cheer Camps, they learn new

techniques, skills, and routines.

       233.     Varsity produces and promotes camps both for School Cheer and All-Star Cheer

Teams. At the High School and College level, Varsity controls the market with USA, NCA, and

UCA Cheer Camps.
       234.    Varsity controls the largest cheerleading championships in the country for the

School Cheer Competition Market under the UCA and the NCA. Teams cannot compete at the

UCA or the NCA unless they attend UCA and NCA Cheer Camps.

                        b.          e Relevant Geographic Market
       235.         e relevant geographic market is the United States. All performances in the

primary market occur within the United States and are regulated by USASF standards set in the

United States. As such, nearly all the targeted customers for Cheer Camp reside in the United

States. Even though, for teams, there may be a regional sense of camps they would realistically

attend, similarly to competitions, Varsity’s monopoly has allowed it to govern, manage, produce

and design camps at a national level.

                        c.      Varsity Has Monopoly Power in the Production, Ownership
                                and Sales of Cheer Camps.

       236.    Varsity has maintained and enhanced its monopoly power in the market for Cheer

Camps through the anticompetitive conduct alleged herein. Varsity possesses the ability to

control, maintain, and increase prices associated in the Cheer Camp Market above competitive

levels and the ability to impair and exclude competitors from producing Cheer Camps. Varsity

has elevated prices charged for attending Cheer Camps substantially above competitive levels,

and restricted output in the All-Star Cheer Camp Market, during the Class Period. Varsity has the




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ability to foreclose, and has in fact foreclosed, actual and would-be rivals from competing in the

market for Cheer Camps.

       237.      rough Varsity’s exclusionary scheme with All-Star Gyms, owners choose

Varsity Cheer Camps and choreographers because they get further rebates and an inside track to

what Varsity Cheer Competition judges are looking for.

       238.    In addition to control over USASF, Varsity has control over the governing bodies

for High Schools and Colleges through USA Cheer, AACCA, and NFHS.

       239.    High School and College cheer coaches choose which Cheer Camps the school is

going to attend. Varsity spends a lot of money on donating equipment and rebranding services for

schools which in exchange purchase Varsity Cheer Apparel and attend Varsity Cheer

Competitions and Varsity Cheer Camps.

       240.    Varsity’s control of the regulatory bodies and the national championships has

foreclosed on rival camp providers from either entering or maintaining a position in the market.

       241.    Varsity has over 4,000 Cheer Camps throughout the United States with over

330,000 participants attending their camps.

                       d.     Barriers to Entry
       242.      ere are a number of barriers to entry into the Cheer Camp Market, including

many barriers imposed and reinforced as part of the Exclusionary Scheme.

                               i. Natural Barriers to Entry
       243.    Cheer Camps require a significant up-front investment. To put on a successful

camp, producers need to procure facilities to host the camps, including lodging and dining

facilities for overnight camps; experienced instructors, including coaches, assistants, and
choreographers; support staﬀ; medical staﬀ; equipment for stunts; liability insurance; and

marketing and access networks to recruit campers.




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                                 ii.     Barriers to Entry Imposed       rough the Exclusionary
                                         Scheme
           244.   Varsity provides bids to some of its national competitions through its Cheer

 Camps.      us, teams hoping to attend these national championships must attend Varsity Cheer

 Camps in order to vie for a Bid.      is puts other producers of Cheer Camps, who cannot oﬀer

 such Bids, at a competitive disadvantage.

           245.   Varsity also requires 75% of the members of any team hoping to compete in

 UCA, NCA, or USA national competitions to attend UCA/NCA/USA Cheer Camps. Like the

 bids Varsity oﬀers for some of its national competitions through its Cheer Camps, the 75%

 requirement creates a barrier to entry for other prospective Cheer Camp producers.

           246.   Athletes also choose NDA, UCA, and USA Cheer Camps also because they know

 that the Cheer Camp coaches and judges will also be at the NCA, UCA, and USA state and

 national championships.      e Cheer Camps oﬀer teams an opportunity to showcase new routines

 and receive feedback from judges. Rival providers cannot oﬀer an equivalent advantage to Cheer

 Camp attendees.

VIII.      PLAINTIFFS HAVE BEEN HARMED AND SUFFERED ANTITRUST INJURY
           AS A DIRECT AND PROXIMATE RESULT OF DEFENDANTS’ UNLAWFUL
           ACTIONS.
           247.   As a direct and proximate result of Varsity’s Exclusionary Scheme, as alleged

 herein, Plaintiﬀs and the members of the Classes have suﬀered antitrust injury in that they

 indirectly paid artificially inflated prices for goods and services that they purchased indirectly

 from Varsity, through All-Star Gyms and schools, in the Relevant Markets during the Class

 Period.     e full amount of such damages Plaintiﬀs and the Classes suﬀered will be calculated
 after discovery and upon proof at trial.

           248.     e conduct comprising Varsity’s Exclusionary Scheme is continuing, as are the

 injuries and damages suﬀered by the members of the Classes as a direct and foreseeable result.




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          A.     Varsity Charges Parents Monopoly Rents in Related Markets.

          249.   In addition to charging artificially high supracompetitive prices for Varsity’s

competitions, apparel, and camps, as alleged above, Varsity leverages its monopoly in the

primary Cheer Competition Market to force parents to pay inflated prices for other related

charges.

          250.   For example, athletes and their families attending Varsity Cheer Competitions are

required to stay at Varsity-approved “Housing Partner” hotels.       is is frequently referred to as

“Stay-to-Play.” “Stay-to-Play” hotels generally charge substantially more than the competitive

rate charged to other guests. For example, under Varsity’s NCA “Team Placement Program, “[a]ll

performers, coaches and spectators attending NCA All-Star Nationals are required to stay

through our housing programs.” If a Competitive Cheer Athlete were to stay at a hotel outside

the “Stay-to-Play” consortium, that athlete’s All-Star Cheer Team is barred from participating in

the Competition. If Varsity learns of a rule violation after an All-Star Cheer Competition, it fines

the All-Star Gym that fielded that participant’s All-Star Cheer Team for the violation. Even

athletes and families that choose not to stay in one of Varsity’s pre-approved hotels must pay a

“Commuter Participant Fee” that can run as high as $365 for some Varsity Cheer Competitions.

Although Varsity refers to this fee as a “participant registration fee,” this fee is separate from the

competition registration fee paid for by the team. Additionally, the policy makes it diﬃcult for

families hoping not to pay the inflated prices by staying with relatives. Plaintiﬀs are informed

and believe that Varsity and/or its aﬃliates or partners receive a certain percentage of the inflated

prices.    rough this practice, Varsity eﬀectively restricts competition that would exist between

hotel and motels during an event, that would provide parents with lower prices and better deals.

          251.   Admission to Varsity Cheer Competitions is expensive. In contrast to other

promoters that do not charge admission to tournaments or other events, Varsity requires families

that wish to see their athletes perform to pay as much as $40 per day to gain admission to Varsity

events.




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        252.    Families that want to watch their children participate without physically attending

events must pay $30 per month or $219 per year to watch the events on Varsity TV. Recording or

streaming Varsity events, even for private usage, is strictly forbidden. Varsity actively enforces

this ban on private recording or streaming, leaving family members no choice but to pay

Varsity’s inflated prices.

        253.      us, Varsity exploits its market power in the primary Cheer Competition Market

to overcharge the families of participants in competitive cheer in multiple ways. Parents

indirectly pay unlawfully inflated prices to Varsity for: (a) registration and entry fees for

tournaments in which the All-Star Gyms enroll; (b) registration fees for USASF; (c) uniforms

and equipment the All-Star Gyms purchase for use in practices and competitions; (d) All-Star

Gyms’ Cheer Camps; (e) hotels Varsity requires the athletes and their families to patronize

during Varsity Cheer Competitions; (f) admission fees at Varsity Cheer Competitions; and (g)

fees for Varsity TV.

        254.    Plaintiﬀs and the member of the Classes are further harmed because Varsity’s

unlawful scheme has thwarted innovation, particularly with regard to safety issues. Competitive

Cheer is a notoriously dangerous sport. One recent study recently found that Competitive Cheer

was the 16th most dangerous sport in the United States, while another found that, “cheerleading

is the most dangerous sport for females because of the high risk for concussions and

“catastrophic” injuries, which are classified as injuries that result in long-term medical

conditions, permanent disabilities or a shorter lifespan.” More than 30,000 cheerleaders go to the

hospital each year for cheer-related injuries, including concussions. Sources state that “Some

schools have actually seen more concussions on the cheerleading squads than football or soccer

teams.”

        255.    In a competitive market, parents and athletes could reasonably expect that

producers would vie for their business by innovating to make the sport safer. But because Varsity

has such a stranglehold on the industry, and in particular on the rule-making organizations,

Competitive Cheer remains among the most dangerous sports in the country.



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       B.       e Exclusionary Scheme Caused Anticompetitive Eﬀects in the Relevant
               Markets Without Procompetitive Benefits.

       256.    Defendants’ Exclusionary Scheme has substantially foreclosed competition in the

Relevant Markets and allowed Varsity to obtain, maintain, and/or enhance monopoly power in

the Relevant Markets. As a result of the Exclusionary Scheme, prices in the Relevant Markets

have been artificially inflated above competitive levels, output in each of the Relevant Markets

has fallen below competitive levels, and the athletes and their parents have less choice in all of

the Relevant Markets.

       257.    Due to the Exclusionary Scheme, Varsity has raised prices associated with Cheer

Competitions and for Cheer Apparel and Cheer Camps above competitive levels. For instance,

participation fees for Varsity Cheer Competitions have increased substantially over the Class

Period. Varsity also began charging spectator admission fees to legacy-JAM Brands events in

2016. Varsity has steadily increased those admission fees during the Class Period. In events such

as JAMFest Bam JAM, admission fees for adults have doubled between late 2016 and 2019, and

each parent now pays a $20 spectator fee to watch his or her child perform a two- or three-

minute routine. Charlesbank, Charlesbank Funds, Bain, and Bain Funds, respectively, have been

actively involved in adopting and setting Varsity’s strategy of maintaining and increasing prices

for Cheer Competitions, Cheeer Apparel, and Cheer Camps.          is conduct directly and

foreseeably caused injury to Plaintiﬀs and members of the Class.

       258.       e Exclusionary Scheme has eliminated and impaired rivals in the Relevant

Markets and blocked the entry and growth of others potential rivals. As a result, the number, size,

and significance of Cheer Apparel manufacturers and Cheer Competition producers have been

reduced, and fewer people participate as All-Star Cheer Athletes. At least 35 All-Star Gyms

closed in 2019 as compared to a normal rate of 5 to 10 such closings in previous years.

       259.    During the Class Period, Varsity shut down many of its own Cheer Competitions

in addition to eliminating rival IEPs and these rivals’ events.




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       260.        ere are no legitimate procompetitive justifications or eﬃciencies for the

conduct alleged as part of the Exclusionary Scheme. Any arguable procompetitive justifications

or eﬃciencies are far outweighed by the anticompetitive eﬀects of the Scheme.

IX.    CLAIMS FOR RELIEF

                                  FIRST CLAIM FOR RELIEF
                  For Injunctive Relief Under Section 16 of the Clayton Act for
              Violations of Sections 1, 2 and 3 of the Sherman Act, 15 U.S.C. §§ 1-3
                     (On Behalf of Plaintiﬀs and the Injunctive Relief Class)
       261.     Plaintiﬀs incorporate the above paragraphs by reference.

       262.        e Relevant Markets are the markets for Cheer Competitions, Cheer Apparel,

and Cheer Camps in the United States.

       263.     Varsity controls approximately 80% of the Cheer Competition Market, 80% of the

Cheer Apparel Market, and 75% of the Cheer Camp Market.

       264.     Varsity, acting in concert with USASF, Charlesbank, Charlesbank Funds, Bain

and Bain Funds have obtained, enhanced, and maintained monopoly power in the Relevant

Markets through the Exclusionary Scheme alleged herein, which conduct is continuing. Varsity,

USASF, Charlesbank, Charlesbank Funds, Bain, and Bain Funds have substantially foreclosed

competition and have abused and continue to abuse their power to maintain and enhance its

market dominance in the Relevant Markets through its Exclusionary Scheme, in violation of

Section 1 of the Sherman Act, 15 U.S.C. § 1.

       265.     During the Class period Varsity, Charlesbank, Charlesbank Funds, Bain, and Bain

Funds engaged in a continuing Exclusionary scheme with respect to the Relevant Markets in an

unreasonable restraint of trade and commerce, with the purpose and eﬀect of acquiring,

enhancing, and maintaining monopoly power in the Relevant Markets, in violation of the

Sherman Act, 15 U.S.C. §2.

       266.     As a direct and proximate result of this continuing violation of Sections 1 and 2 of

the Sherman Act, Plaintiﬀs and the members of the Injunctive Relief Class have suﬀered and

continue to suﬀer injury and damages in that they have paid and continue to pay artificially




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inflated prices indirectly to Varsity for Cheer Competitions, Cheer Apparel, Cheer Camps, and

other ancillary charges including stay-to-play accommodation charges at Varsity Cheer

Competitions and insurance.

       267.    Plaintiﬀs and members of the Injunctive Relief Class will continue to suﬀer

injury, in the form of paying artificially inflated prices indirectly to Varsity for Cheer

Competitions, Cheer Apparel, Cheer Camps, and accommodations at Varsity Cheer

Competitions, if Varsity’s unlawful conduct is not enjoined.

       268.    Plaintiﬀs and the members of the Injunctive Relief Class therefore seek equitable

and injunctive relief under Section 16 of the Clayton Act, 15 U.S.C. § 26, and other applicable

laws, to correct for the anticompetitive market eﬀects caused by Varsity’s unlawful conduct, and

to assure that similar anticompetitive conduct and eﬀects do not continue or reoccur in the future.

                              SECOND CLAIM FOR RELIEF
                            Violation of Tennessee Antitrust Law
                  (On Behalf of Plaintiﬀs and the State Law Damages Class)

       269.    Plaintiﬀs incorporate the above paragraphs by reference.

       270.    In addition to violating Sections 1 and 2 of the Sherman Act and Section 16 of the

Clayton Act, Varsity, together with Charlesbank, Charlesbank Funds, Bain, and Bain Funds,

violated Tennessee Code Ann. §§ 47-25-101, et seq. when it intentionally and wrongfully

acquired, enhanced, and maintained monopoly power in the relevant markets through its ongoing

exclusionary scheme.

       271.    Defendants’ illegal scheme and conspiracy was conceived and implemented in

Tennessee.    e core Defendants—including Mr. Webb, Varsity Brands, Varsity Spirit, Varsity

Spirit Fashion, and USASF—are residents of Tennessee and have committed overt acts in

Tennessee, including directing the Scheme. Varsity Brands and Varsity Spirit are Tennessee

corporations and USASF is a Tennessee non-profit corporation. All, along with Varsity Spirit

Fashion, have their principal place of business in Memphis, Tennessee. Accordingly, the State of

Tennessee has a recognized and compelling interest in the enforcement of its antitrust, consumer

protection and common law with respect to the violations of law alleged in this Complaint.



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       272.    By engaging the conduct alleged herein, Defendants intentionally and wrongfully

engaged in conduct, a combination, or conspiracy in restraint of trade in violation of Tenn. Code

Ann. §§ 47-25-101, et seq.

       273.    As a direct and proximate result of Defendants unlawful scheme, Plaintiﬀs have

been harmed in that they paid artificially inflated prices for Varsity’s Cheer Apparel and other

related fees and charges. Because Plaintiﬀs and the class were harmed by Defendants’ unlawful

actions, which were conceived and executed within Tennessee’s borders by persons and

corporations that are residents of Tennessee, the state has a significant aggregation of contacts to

the claims asserted by each member of the plaintiﬀ class.

       274.       e injuries suﬀered by Plaintiﬀs and the class are of the type that Tenn. Code

Ann. §§ 47-25-101, et seq. are intended to prevent, and flow from that which makes Defendants’

conduct unlawful.

       275.    Plaintiﬀs and the class therefore seek money damages under Tenn. Code Ann. §§

47-25-101, et seq., to correct for the anticompetitive market eﬀects caused by Varsity’s unlawful

conduct, and compensate Plaintiﬀs and the class for the harm they have suﬀered as a result of

defendants’ unlawful scheme.

                               THIRD CLAIM FOR RELIEF
                              Violation of State Antitrust Law
                  (On Behalf of Plaintiﬀs and the State Law Damages Class)

       276.    Plaintiﬀs incorporate the above paragraphs by reference.

       277.    In addition to violating Sections 1 and 2 of the Sherman Act and Section 16 of the

Clayton Act, Varsity intentionally and wrongfully maintained monopoly power in the Relevant

Markets through its ongoing exclusionary scheme.

       278.    By engaging the foregoing conduct, Varsity, together with Charlesbank,

Charlesbank Funds, Bain, and Bain Funds, intentionally and wrongfully engaged in conduct, a

combination, or conspiracy in restraint of trade in violation of the following state antitrust laws:

       A.      Ariz. Rev. Stat. §§ 44-1402, et seq., with respect to purchases of Defendants’

products and services in Arizona by Class members and/or by Arizona residents.



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       B.     Ark. Code Ann. §§ 4-75-309, et seq., with respect to purchases of Defendants’

products and services in Arkansas by Class members and/or by Arkansas residents.

       C.     Cal. Bus. And Prof. Code §§ 16720, et seq., with respect to purchases of

Defendants’ products and services in California by Class members and/or by California residents.

       D.

       E.     D.C. Code §§ 28-4502, et seq., with respect to purchases of Defendants’ products

and services in the District of Columbia by Class members and/or by District of Columbia

residents.

       F.     Haw. Rev. Stat §§ 480-1, et seq., with respect to purchases of Defendants’

products and services in Hawaii by Class members and/or by Hawaii residents.

       G.     Idaho Code §§ 48-104, et seq., with respect to purchases of Defendants’ products

and services in Idaho by Class members and/or Idaho residents.

       H.     Iowa Code §§ 553.4, et seq., with respect to purchases of Defendants’ products

and services in Iowa by Class members and/or by Iowa residents.

       I.     Kan. Stat. Ann. §§ 50-101, et seq., with respect to purchases of Defendants’

products and services in Kansas by Class members and/or by Kansas residents.

       J.     Me. Stat. tit. 10 §§ 1101, et seq., with respect to purchases of Defendants’

products and services in Maine by Class members and/or by Maine residents.

       K.     Md. Code, Com Law, Section 11-204, et seq., with respect to purchases of

Defendants’ products and services in Maryland by Class members and/or by Maryland residents.

       L.     Mich. Comp. Laws §§ 445.772, et seq., with respect to purchases of Defendants’

products and services in Michigan by Class members and/or by Michigan residents.

       M.     Minn. Stat. §§ 325D.49, et seq., with respect to purchases of Defendants’ products

and services in Minnesota by Class members and/or by Minnesota residents.

       N.     Miss. Code Ann. §§ 75-21-3, et seq., with respect to purchases of Defendants’

products and services in Mississippi by Class members and/or by Mississippi residents.




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          O.      Neb. Rev. Stat. §§ 59-801, et seq., with respect to purchases of Defendants’

products and services in Nebraska by Class members and/or by Nebraska residents.

          P.      Nev. Rev. Stat. §§ 598A.060, et seq., with respect to purchases of Defendants’

products and services in Nevada by Class members and/or by Nevada residents.

          Q.      N.H. Rev. Stat. Ann. §§ 356:2, et seq., with respect to purchases of Defendants’

products and services in New Hampshire by Class members and/or by New Hampshire residents.

          R.      N.M. Stat. Ann. §§ 57-1-1, et seq., with respect to purchases of Defendants’

products and services in New Mexico by Class members and/or by New Mexico residents.

          S.      N.Y. Gen. Bus. Law §§ 340, et seq., with respect to purchases of Defendants’

products and services in New York by Class members and/or by New York residents.

          T.      N.C. Gen. Stat. §§ 75-1, et seq., with respect to purchases of Defendants’ products

and services in North Carolina by Class members and/or by North Carolina residents.

          U.      N.D. Cent. Code §§ 51-08.1-02, et seq., with respect to purchases of Defendants’

products and services in North Dakota by Class members and/or by North Dakota residents.

          V.      Or. Rev. Stat. §§ 646.725, et seq., with respect to purchases of Defendants’

products and services in Oregon by Class members and/or by Oregon residents.

          W.      R.I. Gen. Laws §§ 6-36-4, et seq., with respect to purchases of Defendants’

products and services in Rhode Island by Class members and/or by Rhode Island residents.

          X.      S.D. Codified Laws §§ 37-1-3.1, et seq., with respect to purchases of Defendants’

products and services in South Dakota by Class members and/or by South Dakota residents.

          Y.      Tenn. Code Ann. §§ 47-25-101, et seq., with respect to purchases of Defendants’

products and services in Tennessee by Class members and/or by Tennessee residents.17
          Z.      Utah Code Ann. §§ 76-10-3104, et seq., with respect to purchases of Defendants’

products and services in Utah by Class members and/or by Utah residents.




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     See supra n. 9.



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       AA.     W. Va. Code §§ 47-18-1, et seq., with respect to purchases of Defendants’

products and services in West Virginia by Class members and/or by West Virginia residents.

       BB.     Wis. Stat. §§ 133.03, et seq., with respect to purchases of Defendants’ products

and services in Wisconsin by Class members and/or by Wisconsin residents.

       279.    Plaintiﬀs and members of the State Law Damages Class have been injured by

reason of Defendants’ antitrust violations alleged in this Claim.   eir injuries consist of paying

higher prices for Cheer Competitions, Cheer Apparel, Cheer Camps, accommodations at Varsity

Cheer Competitions, and other related fees and charges, than they would have paid in the

absence of Defendants’ conduct.     ese injuries are of the type that the foregoing laws are

intended to prevent, and flow from that which makes Defendants’ conduct unlawful.

       280.    Plaintiﬀs and the State Law Damages Class seek damages and multiple damages

as permitted by law for their injuries by Defendants’ violations of the aforementioned statutes.

                          FOURTH CLAIM FOR RELIEF
   Unfair Methods of Competition, and Unfair and Deceptive Acts, in Violation of State
                              Consumer Protection Law
              (On Behalf of Plaintiﬀs and the State Law Damages Class)

       281.    Plaintiﬀs incorporate the above paragraphs by reference.

       282.    Varsity, together with Charlesbank, Charlesbank Funds, Bain, and Bain Funds,

engaged in unlawful and unfair acts and practices to willfully and wrongfully obtain, enhance,

and maintain its monopoly in the markets for Cheer Competitions, Cheer Apparel, and Cheer

Camps.    ese unlawful and unfair acts included: (a) oﬀering rebates to gyms and schools that

entice the gyms and schools to favor Varsity’s Cheer Competition and Cheer Apparel over those

of other promoters, at the expense of Plaintiﬀs and members of the State Law Damages Class;

(b) concealing the existence of its exclusionary agreements with All-Star Gyms and schools from

Plaintiﬀs and the members of the class, thereby fraudulently concealing the extent of its

exclusionary scheme and the eﬀect of that scheme on Plaintiﬀs and the members of the State

Law Damages Class; (c) exploiting its control over USASF and other rule-making organizations

to create rules that unfairly favored Varsity by assigning the power to oﬀer bids to the three




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recognized championship competitions for Competitive Cheer almost exclusively to Varsity

owned or controlled Cheer Competitions; (d) counterprogramming would-be rivals Cheer

Competitions, thus impairing their ability to compete, and depriving Plaintiﬀs and the State Law

Damages Class of the ability to seek the best value in a competitive market.    ese unlawful

actions had the purpose and eﬀect of channeling Competitive Cheer Athletes and teams to

Varsity’s Cheer Competitions, Cheer Apparel, and Cheer Camps, all of which put other

promoters of Cheer Competitions and manufacturers of Cheer Apparel at a competitive

disadvantage by eﬀectively locking them out of the Relevant Markets.

       283.    As a direct and proximate result of Varsity’s unlawful and unfair business

practices, Plaintiﬀs and members of the State Law Damages Class were denied the opportunity

to shop for competitively priced Cheer competitions, Cheer Apparel, and Cheer Camps that they

would have had access to in a properly functioning competitive market. Plaintiﬀs and members

of the State Law Damages Class were forced to pay artificially inflated prices for Varsity’s

products, and lost money or property as a result.

       284.        e gravity of harm from Defendants’ wrongful conduct significantly outweighs

any conceivable utility from that conduct. Plaintiﬀs and class members could not reasonably

have avoided injury from Defendants’ wrongful conduct.

       285.    By engaging in such conduct, Defendants violated the following state consumer

protection laws:

       A.      Ariz. Rev. Stat. Ann. §§ 44-1521, et seq., with respect to purchases of Defendants’

products and services in Arizona by Class members and/or by Arizona residents.

       B.      Ark. Code §§ 4-88-101, et seq., with respect to purchases of Defendants’ products

and services in Arkansas by Class members and/or by Arkansas residents.

       C.      Cal. Bus. & Prof Code §§ 17200, et seq., with respect to purchases of Defendants’

products and services in California by Class members and/or by California residents.

       D.      Conn. Gen. Stat. §§ 42-110b, et seq., with respect to purchases of Defendants’

products and services in Connecticut by Class members and/or by Connecticut residents.



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       E.     D.C. Code §§ 28-3901, et seq., with respect to purchases of Defendants’ products

and services in the District of Columbia by Class members and/or by District of Columbia

residents.

       F.     Fla. Stat. §§ 501.201, et seq., with respect to purchases of Defendants’ products

and services in Florida by Class members and/or by Florida residents.

       G.     Haw. Rev. Stat. §§ 481-1, et seq., with respect to purchases of Defendants’

products and services in Hawaii by Class members and/or by Hawaii residents.

       H.     Idaho Code Ann. §§ 48-601, et seq., with respect to purchases of Defendants’

products and services in Idaho by Class members and/or by Idaho residents.

       I.     Kan. Stat. Ann. §§ 50-623, et seq., with respect to purchases of Defendants’

products and services in Kansas by Class members and/or by Kansas residents.

       J.     Me. Stat. tit. 5, §§ 207, et seq., with respect to purchases of Defendants’ products

and services in Maine by Class members and/or by Maine residents.

       K.     Mass. Gen. Laws ch. 93A, §§ 1, et seq., with respect to purchases of Defendants’

products and services in Massachusetts by Class members and/or by Massachusetts residents.

       L.     Mich. Comp. Laws §§ 445.901, et seq., with respect to purchases of Defendants’

products and services in Michigan by Class members and/or by Michigan residents.

       M.     Minn. Stat. §§ 325F.68, et seq., and Minn. Stat. § 8.31, et seq., with respect to

purchases of Defendants’ products and services in Minnesota by Class members and/or by

Minnesota residents.

       N.     Mo. Rev. Stat. §§ 407.010, et seq., with respect to purchases of Defendants’

products and services in Missouri by Class members and/or by Missouri residents.

       O.     Mont. Code Ann. §§ 30-14-103, et seq., with respect to purchases of Defendants’

products and services in Montana by Class members and/or by Montana residents.

       P.     Neb. Rev. Stat. §§ 59-1601, et seq., with respect to purchases of Defendants’

products and services in Nebraska by Class members and/or by Nebraska residents.




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       Q.     Nev. Rev. Stat. Ann. §§ 598.0903, et seq., with respect to purchases of

Defendants’ products and services in Nevada by Class members and/or by Nevada residents.

       R.     N.H. Rev. Stat. Ann. §§ 358-A:1, et seq., with respect to purchases of Defendants’

products and services in New Hampshire by Class members and/or by New Hampshire residents.

       S.     N.M. Stat. Ann. §§ 57-12-1, et seq., with respect to purchases of Defendants’

products and services in New Mexico by Class members and/or by New Mexico residents.

       T.     N.Y. Gen. Bus. Law §§ 349, et seq., with respect to purchases of Defendants’

products and services in New York by Class members and/or by New York residents.

       U.     N.C. Gen. Stat. §§ 75-1.1, et seq., with respect to purchases of Defendants’

products and services in North Carolina by Class members and/or by North Carolina residents.

       V.     Or. Rev. Stat. §§ 646.605, et seq., with respect to purchases of Defendants’

products and services in Oregon by Class members and/or by Oregon residents.

       W.     R.I. Gen. Laws §§ 6-13.1-1, et seq., with respect to purchases of Defendants’

products and services in Rhode Island by Class members and/or by Rhode Island residents.

       X.     S.D. Codified Laws §§ 37-24-6, et seq., with respect to purchases of Defendants’

products and services in South Dakota by Class members and/or by South Dakota residents.

       Y.     Tenn. Code Ann. §§ 47-18-101, et seq., with respect to purchases of Defendants’

products and services in Tennessee by Class members and/or by Tennessee residents.

       Z.     Utah Code Ann. §§ 13-11-1, et seq., with respect to purchases of Defendants’

products and services in Utah by Class members and/or by Utah residents.

       AA.    Vt. Stat. Ann. Tit. 9, §§ 2453, et seq., with respect to purchases of Defendants’

products and services in Vermont by Class members and/or by Vermont residents.

       BB.    W. Va. Code §§ 46A-6-101, et seq., with respect to purchases of Defendants’

products and services in West Virginia by Class members and/or by West Virginia residents.

       CC.    Wis. Stat. § 100.20, et seq., with respect to purchases of Defendants’ products and

services in Wisconsin by Class members and/or by Wisconsin residents.




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       286.    On behalf of themselves and the State Law Damages Class, Plaintiﬀs seek all

appropriate relief provided for under the foregoing statutes.

                               FIFTH CLAIM FOR RELIEF
                         Unjust Enrichment Under Tennessee Law
                  (On Behalf of Plaintiﬀs and the State Law Damages Class)

       287.    Plaintiﬀs incorporate the above paragraphs by reference.

       288.       is claim is pleaded in the alternative to the other claims in this Complaint.

       289.    Defendants have reaped and retained substantial benefits in the form of higher

profits due to their unjust scheme to monopolize the markets for Cheer Competitions and for

Cheer Apparel.

       290.       e financial benefits to Defendants from their wrongful conduct are traceable to

overpayments for Cheer Competition registration fees, Cheer Apparel, Cheer Camps, and other

ancillary charges including stay-to-play charges for accommodations at Varsity Cheer

Competitions by Plaintiﬀs and the class.

       291.    Plaintiﬀs and the class have conferred upon Defendants an economic benefit—its

profits stemming from anticompetitive overcharges. Plaintiﬀs and the class paid those monopoly

overcharges to their substantial economic detriment.

       292.    It would be futile for Plaintiﬀs and the class to seek relief against any party with

whom they have privity of contract, including the gyms and schools to which they indirectly paid
Varsity’s artificially inflated prices, because the gyms and schools did not retain the full benefit of

Varsity’s unlawfully inflated prices.

       293.       e financial benefits that Varsity, Charlesbank, Charlesbank Funds, Bain and

Bain Funds derived by charging supracompetitive prices for its Cheer Competition registration

fees, Cheer Apparel, Cheer Camps, and other ancillary charges including stay-to-play charges for

accommodations at Varsity Cheer Competitions directly and proximately resulted from Varsity’s

unjust practices described herein.      ose benefits rightfully belong to Plaintiﬀs and the class.




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       294.    It would be wrong and inequitable for Varsity to be permitted to retain any of the

ill-gotten gains from its wrongful monopolization scheme.

       295.       e benefits conferred upon Varsity, Charlesbank, Charlesbank Funds, Bain, and

Bain Funds are measurable, in that the revenue they have earned due to its unlawful

overcharges for Cheer Competition registration fees, Cheer Apparel, Cheer Camps, and other

ancillary charges including stay-to-play charges for accommodations at Varsity Cheer

Competitions is ascertainable by review of sales records.

       296. Varsity, Charlesbank, Charlesbank Funds, Bain, and Bain Funds should be

compelled to disgorge in a common fund for the benefit of Plaintiﬀs and the class

all proceeds that it inequitably derived from its scheme, and a constructive trust should be

imposed upon such sums.

                                SIXTH CLAIM FOR RELIEF
               For Declaratory Relief Under 28 U.S.C. § 2201 for Violations of
                  Sections 1, 2, and 3 of the Sherman Act, 15 U.S.C. §§ 1–3
                   (On Behalf of Plaintiﬀs and the Injunctive Relief Class)

       297. Plaintiﬀs incorporate by reference each preceding and succeeding paragraph as

though fully set forth herein.

       298. Plaintiﬀs and the members of the Injunctive Relief Class, pursuant to Fed. R. Civ. P.

57 and 28 U.S.C. § 2201, hereby seek a declaratory judgment that Defendants’ conduct in

seeking to prevent competition as described herein violates Section 2 of the Sherman Act.

                                    PRAYER FOR RELIEF

       WHEREFORE, Plaintiﬀs, on behalf of themselves and the proposed Classes, pray for
judgment against Varsity as follows:

       A. Determining that this action may be maintained as a class action pursuant to Rules

23(a), 23(b)(2) and (b)(3) of the Federal Rules of Civil Procedure, and direct that reasonable

notice of this action, as provided by Rule 23(c)(2), be given to the members of the Classes, and

appoint the Plaintiﬀs as the named representatives of the Classes;




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       B.      Awarding Plaintiﬀs and the Class treble damages in an amount to be determined

in trial, plus interest in accordance with law;

       C.      Entering joint several judgments against Varsity, Charlesbank, Charlesbank

Funds, Bain, and Bain Funds in favor of Plaintiﬀs and the Classes;

       D.      Granting Plaintiﬀs and the Classes equitable relief in the form of disgorgement or

restitution, and creation of a constructive trust to remedy the unjust enrichment of Varsity,

Charlesbank, Charlesbank Funds, Bain, and Bain Funds;

       E.      Awards Plaintiﬀs and the Classes their costs of suit, including reasonable

attorneys’ fees as provided by law; and

       F.      Awarding such further and additional relief as the case may require and the Court

may deem just and proper under the circumstances.

                                          JURY DEMAND
       Pursuant to Fed. R. Civ. P. 38(c), Plaintiﬀs demand a trial by jury on all issues so triable.



Dated: February 27, 2024                          Respectfully submitted,

                                                  By:      /s/ Joseph R. Saveri
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